                                                                                                                           Case 14-40567                      Doc 1Filed 06/13/14 Entered 06/13/14 16:04:15 Desc Main
                                                                                                          B1 (Official Form 1) (04/13)                                Document Page 1 of 66
                                                                                                                                                      United States Bankruptcy Court                       Voluntary Petition
                                                                                                                                                         Middle District of Georgia
                                                                                                           Name of Debtor (if individual, enter Last, First, Middle):                                      Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                                                            Hayes, Tony                                                                                      Hayes, Monique Shamese
                                                                                                           All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
                                                                                                           (include married, maiden, and trade names):                                                     (include married, maiden, and trade names):
                                                                                                            None                                                                                             None

                                                                                                          Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
                                                                                                          (if more than one, state all): 9348                                               (if more than one, state all):    1756
                                                                                                           Street Address of Debtor (No. and Street, City, and State)                                      Street Address of Joint Debtor (No. and Street, City, and State
                                                                                                            2 Clausen Drive                                                                                  2 Clausen Drive
                                                                                                            Columbus, GA                                                        ZIPCODE
                                                                                                                                                                                                             Columbus, GA                                                           ZIPCODE
                                                                                                                                                                                     31907-0000                                                                                        31907-0000
                                                                                                           County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:

                                                                                                            Muscogee                                                                                         Muscogee
                                                                                                           Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):



                                                                                                                                                                               ZIPCODE                                                                                              ZIPCODE

                                                                                                           Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                                                                                                                                    ZIPCODE

                                                                                                                         Type of Debtor                                         Nature of Business                                       Chapter of Bankruptcy Code Under Which
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                     (Form of Organization)                                   (Check one box)                                                 the Petition is Filed (Check one box)
                                                                                                                         (Check one box)                                          Health Care Business                              Chapter 7
                                                                                                               Individual (includes Joint Debtors)                                Single Asset Real Estate as defined in                                       Chapter 15 Petition for
                                                                                                               See Exhibit D on page 2 of this form.                              11 U.S.C. § 101 (51B)                             Chapter 9                  Recognition of a Foreign
                                                                                                               Corporation (includes LLC and LLP)                                 Railroad                                                                     Main Proceeding
                                                                                                               Partnership                                                        Stockbroker                                       Chapter 11
                                                                                                               Other (If debtor is not one of the above entities,                 Commodity Broker                                  Chapter 12                 Chapter 15 Petition for
                                                                                                               check this box and state type of entity below.)                    Clearing Bank                                                                Recognition of a Foreign
                                                                                                                                                                                                                                    Chapter 13
                                                                                                                                                                                  Other N.A.                                                                   Nonmain Proceeding
                                                                                                                             Chapter 15 Debtors                                           Tax-Exempt Entity                                           Nature of Debts
                                                                                                                                                                                        (Check box, if applicable)                                    (Check one box)
                                                                                                           Country of debtor’s center of main interests:                                                                            Debts are primarily consumer
                                                                                                                                                                                                                                                                            Debts are
                                                                                                                                                                                      Debtor is a tax-exempt organization           debts, defined in 11 U.S.C.
                                                                                                                                                                                                                                                                            primarily
                                                                                                           Each country in which a foreign proceeding by,                             under Title 26 of the United States           §101(8) as "incurred by an
                                                                                                                                                                                                                                                                            business debts.
                                                                                                           regarding, or against debtor is pending:                                   Code (the Internal Revenue Code)              individual primarily for a
                                                                                                                                                                                                                                    personal, family, or
                                                                                                                                                                                                                                    household purpose."
                                                                                                                                       Filing Fee (Check one box)                                                                           Chapter 11 Debtors
                                                                                                                                                                                                                   Check one box:
                                                                                                                  Full Filing Fee attached                                                                                Debtor is a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                                                                                                                          Debtor is not a small business as defined in 11 U.S.C. § 101(51D)
                                                                                                                  Filing Fee to be paid in installments (applicable to individuals only) Must attach                 Check if:
                                                                                                                  signed application for the court's consideration certifying that the debtor is unable                  Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                                                                  to pay fee except in installments. Rule 1006(b). See Official Form 3A.                                 insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                                                                                                                                         on 4/01/16 and every three years thereafter).
                                                                                                                                                                                                                     Check all applicable boxes
                                                                                                                  Filing Fee waiver requested (applicable to chapter 7 individuals only). Must
                                                                                                                                                                                                                         A plan is being filed with this petition.
                                                                                                                  attach signed application for the court’s consideration. See Official Form 3B.
                                                                                                                                                                                                                         Acceptances of the plan were solicited prepetition from one or more
                                                                                                                                                                                                                         classes of creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                                                            Statistical/Administrative Information                                                                                                                                  THIS SPACE IS FOR
                                                                                                                                                                                                                                                                                    COURT USE ONLY
                                                                                                              Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                                              Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for
                                                                                                              distribution to unsecured creditors.
                                                                                                          Estimated Number of Creditors

                                                                                                           1-49           50-99           100-199           200-999         1,000-           5,001-           10,001-            25,001-         50,001-          Over
                                                                                                                                                                            5,000            10,000           25,000             50,000          100,000          100,000
                                                                                                          Estimated Assets

                                                                                                          $0 to          $50,001 to      $100,001 to       $500,001      $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                          $50,000        $100,000        $500,000          to $1         to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                           million       million          million          million            million
                                                                                                          Estimated Liabilities

                                                                                                          $0 to          $50,001 to      $100,001 to        $500,001     $1,000,001       $10,000,001      $50,000,001        $100,000,001     $500,000,001      More than
                                                                                                          $50,000        $100,000        $500,000           to $1        to $10           to $50           to $100            to $500          to $1 billion     $1 billion
                                                                                                                                                            million      million          million          million            million
                                                                                                          B1 (OfficialCase 14-40567
                                                                                                                      Form 1) (04/13)                    Doc 1          Filed 06/13/14 Entered 06/13/14 16:04:15                                            Desc Main                Page 2
                                                                                                          Voluntary Petition                                               Document PageName2of of 66
                                                                                                                                                                                                Debtor(s):
                                                                                                          (This page must be completed and filed in every case)                                        Tony Hayes & Monique Shamese Hayes
                                                                                                                                   All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
                                                                                                          Location                                                                              Case Number:                                       Date Filed:
                                                                                                          Where Filed:           NONE

                                                                                                           Location                                                                             Case Number:                                       Date Filed:
                                                                                                           Where Filed:
                                                                                                                                 N.A.
                                                                                                                     Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                                                           Name of Debtor: NONE                                                    Case Number:                                   Date Filed:


                                                                                                           District:                                                                             Relationship:                                     Judge:


                                                                                                                                          Exhibit A                                                                                      Exhibit B
                                                                                                                                                                                                                          (To be completed if debtor is an individual
                                                                                                          (To be completed if debtor is required to file periodic reports (e.g., forms                                    whose debts are primarily consumer debts)
                                                                                                          10K and 10Q) with the Securities and Exchange Commission pursuant to
                                                                                                          Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting             I, the attorney for the petitioner named in the foregoing petition, declare that I
                                                                                                          relief under chapter 11)                                                                 have informed the petitioner that [he or she] may proceed under chapter 7, 11,
                                                                                                                                                                                                   12, or 13 of title 11, United States Code, and have explained the relief
                                                                                                                                                                                                   available under each such chapter. I further certify that I delivered to the
                                                                                                                                                                                                   debtor the notice required by 11 U.S.C. § 342(b).

                                                                                                                   Exhibit A is attached and made a part of this petition.                         X        /s/ William H. Arey                                  6/13/2014
                                                                                                                                                                                                        Signature of Attorney for Debtor(s)                         Date


                                                                                                                                                                                        Exhibit C
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?

                                                                                                                   Yes, and Exhibit C is attached and made a part of this petition.

                                                                                                                   No.


                                                                                                                                                                                         Exhibit D
                                                                                                            (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
                                                                                                                       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
                                                                                                           If this is a joint petition:
                                                                                                                       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.


                                                                                                                                                                      Information Regarding the Debtor - Venue
                                                                                                                                                                                   (Check any applicable box)
                                                                                                                                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                                                                                   preceding the date of this petition or for a longer part of such 180 days than in any other District.

                                                                                                                                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.


                                                                                                                                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United Sates in this District, or
                                                                                                                                   has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in federal or state court] in
                                                                                                                                   this District, or the interests of the parties will be served in regard to the relief sought in this District.


                                                                                                                                             Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                                                                                                                    (Check all applicable boxes)
                                                                                                                                   Landlord has a judgment against the debtor for possession of debtor’s residence. (If box checked, complete the following.)


                                                                                                                                                                                   (Name of landlord that obtained judgment)


                                                                                                                                                                                    (Address of landlord)
                                                                                                                                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the
                                                                                                                                   entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                                                                                                                                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period after the
                                                                                                                                   filing of the petition.
                                                                                                                                   Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(1)).
                                                                                                                          Case 14-40567                Doc 1         Filed 06/13/14 Entered 06/13/14 16:04:15                                              Desc Main
                                                                                                          B1 (Official Form 1) (04/13)                                  Document Page 3 of 66                                                                                             Page 3
                                                                                                          Voluntary Petition                                                                     Name of Debtor(s):
                                                                                                          (This page must be completed and filed in every case)                                 Tony Hayes & Monique Shamese Hayes
                                                                                                                                                                                         Signatures
                                                                                                                      Signature(s) of Debtor(s) (Individual/Joint)                                                Signature of a Foreign Representative
                                                                                                            I declare under penalty of perjury that the information provided in this petition
                                                                                                            is true and correct.
                                                                                                            [If petitioner is an individual whose debts are primarily consumer debts and         I declare under penalty of perjury that the information provided in this petition
                                                                                                            has chosen to file under chapter 7] I am aware that I may proceed under              is true and correct, that I am the foreign representative of a debtor in a foreign
                                                                                                            chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief      proceeding, and that I am authorized to file this petition.
                                                                                                            available under each such chapter, and choose to proceed under chapter 7.
                                                                                                            [If no attorney represents me and no bankruptcy petition preparer signs the          (Check only one box.)
                                                                                                            petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                                                                                                                                                                                            I request relief in accordance with chapter 15 of title 11, United States Code.
                                                                                                            I request relief in accordance with the chapter of title 11, United States                      Certified copies of the documents required by 11 U.S.C. § 1515 of title 11 are
                                                                                                            Code, specified in this petition.                                                               attached.

                                                                                                                                                                                                            Pursuant to 11 U.S.C.§ 1511, I request relief in accordance with the chapter of
                                                                                                                                                                                                            title 11 specified in this petition. A certified copy of the order granting
                                                                                                                                                                                                            recognition of the foreign main proceeding is attached.
                                                                                                            X /s/ Tony Hayes
                                                                                                                Signature of Debtor                                                                X
                                                                                                                                                                                                       (Signature of Foreign Representative)
                                                                                                            X /s/ Monique Shamese Hayes
                                                                                                               Signature of Joint Debtor

                                                                                                                                                                                                        (Printed Name of Foreign Representative)
                                                                                                                Telephone Number (If not represented by attorney)
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                 6/13/2014
                                                                                                                                                                                                         (Date)
                                                                                                                 Date

                                                                                                                                 Signature of Attorney*                                                     Signature of Non-Attorney Petition Preparer
                                                                                                           X      /s/ William H. Arey
                                                                                                                Signature of Attorney for Debtor(s)                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer
                                                                                                                                                                                                  as defined in 11 U.S.C. § 110, (2) I prepared this document for compensation,
                                                                                                               WILLIAM H. AREY 021238                                                             and have provided the debtor with a copy of this document and the notices and
                                                                                                                Printed Name of Attorney for Debtor(s)
                                                                                                                                                                                                  information required under 11 U.S.C. § 110(b), 110(h), and 342(b); and, (3) if
                                                                                                                                                                                                  rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                                                                                                               Arey, Long and Cross, P.C.                                                         setting a maximum fee for services chargeable by bankruptcy petition
                                                                                                                Firm Name                                                                         preparers, I have given the debtor notice of the maximum amount before any
                                                                                                               P.O. Box 8641                                                                      document for filing for a debtor or accepting any fee from the debtor, as
                                                                                                                Address                                                                           required in that section. Official Form 19 is attached.

                                                                                                               Columbus, GA 31908
                                                                                                                                                                                                  Printed Name and title, if any, of Bankruptcy Petition Preparer
                                                                                                               706-596-6745
                                                                                                               Telephone Number
                                                                                                                                                                                                  Social Security Number (If the bankruptcy petition preparer is not an individual,
                                                                                                               6/13/2014                                                                          state the Social Security number of the officer, principal, responsible person or
                                                                                                              Date                                                                                partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)
                                                                                                           *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
                                                                                                           certification that the attorney has no knowledge after an inquiry that the
                                                                                                           information in the schedules is incorrect.                                              Address

                                                                                                                  Signature of Debtor (Corporation/Partnership)
                                                                                                             I declare under penalty of perjury that the information provided in this petition
                                                                                                             is true and correct, and that I have been authorized to file this petition on       X
                                                                                                             behalf of the debtor.

                                                                                                             The debtor requests relief in accordance with the chapter of title 11,                  Date
                                                                                                             United States Code, specified in this petition.
                                                                                                                                                                                                     Signature of bankruptcy petition preparer or officer, principal, responsible
                                                                                                                                                                                                     person, or partner whose Social Security number is provided above.
                                                                                                           X
                                                                                                               Signature of Authorized Individual                                                    Names and Social Security numbers of all other individuals who prepared or
                                                                                                                                                                                                     assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                                                                                                                     not an individual:
                                                                                                                Printed Name of Authorized Individual
                                                                                                                                                                                                     If more than one person prepared this document, attach additional sheets
                                                                                                                                                                                                     conforming to the appropriate official form for each person.
                                                                                                                Title of Authorized Individual
                                                                                                                                                                                                     A bankruptcy petition preparer’s failure to comply with the provisions of title 11
                                                                                                                                                                                                     and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                                               Date
                                                                                                                                                                                                     imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                                                  Case 14-40567                Doc 1   Filed 06/13/14 Entered 06/13/14 16:04:15       Desc Main
                                                                                                                                                          Document Page 4 of 66
                                                                                                          B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                                                                                                          Middle District of Georgia




                                                                                                                Tony Hayes & Monique Shamese Hayes
                                                                                                          In re______________________________________                                  Case No._____________
                                                                                                                         Debtor(s)                                                           (if known)


                                                                                                                     EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                                     CREDIT COUNSELING REQUIREMENT

                                                                                                                  Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                          credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                          case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                          filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                          you. If your case is dismissed and you file another bankruptcy case later, you may be
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                          collection activities.

                                                                                                                 Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                          must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                          any documents as directed.

                                                                                                                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                          services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                          developed through the agency.

                                                                                                                  2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                          the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                          services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                          no later than 14 days after your bankruptcy case is filed.
                                                                                                                  Case 14-40567               Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15   Desc Main
                                                                                                                                                              Document Page 5 of 66
                                                                                                          B1 D (Official Form 1, Exh. D) (12/09) – Cont.                                                Page 2


                                                                                                                  3. I certify that I requested credit counseling services from an approved agency but
                                                                                                          was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                          following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                          so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                                 If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                          counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                          promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                          copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                          requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                          can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                          be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                          without first receiving a credit counseling briefing.

                                                                                                                 4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                          applicable statement.] [Must be accompanied by a motion for determination by the court.]
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                         Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                                 illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                                 decisions with respect to financial responsibilities.);
                                                                                                                         Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                                 extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                                 briefing in person, by telephone, or through the Internet.);
                                                                                                                         Active military duty in a military combat zone.

                                                                                                                 5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                          counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                                 I certify under penalty of perjury that the information provided above is true and
                                                                                                          correct.



                                                                                                                                       Signature of Debtor:              /s/ Tony Hayes
                                                                                                                                                                        TONY HAYES

                                                                                                                                                                     6/13/2014
                                                                                                                                                            Date: _________________
                                                                                                                  Case 14-40567                Doc 1   Filed 06/13/14 Entered 06/13/14 16:04:15       Desc Main
                                                                                                                                                          Document Page 6 of 66
                                                                                                          B1 D (Official Form 1, Exhibit D ) (12/09)


                                                                                                                                              UNITED STATES BANKRUPTCY COURT
                                                                                                                                                          Middle District of Georgia




                                                                                                                Tony Hayes & Monique Shamese Hayes
                                                                                                          In re______________________________________                                  Case No._____________
                                                                                                                         Debtor(s)                                                           (if known)


                                                                                                                     EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                                                                                                                     CREDIT COUNSELING REQUIREMENT

                                                                                                                  Warning: You must be able to check truthfully one of the five statements regarding
                                                                                                          credit counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy
                                                                                                          case, and the court can dismiss any case you do file. If that happens, you will lose whatever
                                                                                                          filing fee you paid, and your creditors will be able to resume collection activities against
                                                                                                          you. If your case is dismissed and you file another bankruptcy case later, you may be
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          required to pay a second filing fee and you may have to take extra steps to stop creditors'
                                                                                                          collection activities.

                                                                                                                 Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse
                                                                                                          must complete and file a separate Exhibit D. Check one of the five statements below and attach
                                                                                                          any documents as directed.

                                                                                                                 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, and I have a certificate from the agency describing the
                                                                                                          services provided to me. Attach a copy of the certificate and a copy of any debt repayment plan
                                                                                                          developed through the agency.

                                                                                                                  2. Within the 180 days before the filing of my bankruptcy case, I received a briefing
                                                                                                          from a credit counseling agency approved by the United States trustee or bankruptcy
                                                                                                          administrator that outlined the opportunities for available credit counseling and assisted me in
                                                                                                          performing a related budget analysis, but I do not have a certificate from the agency describing
                                                                                                          the services provided to me. You must file a copy of a certificate from the agency describing the
                                                                                                          services provided to you and a copy of any debt repayment plan developed through the agency
                                                                                                          no later than 14 days after your bankruptcy case is filed.
                                                                                                                  Case 14-40567               Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15   Desc Main
                                                                                                                                                              Document Page 7 of 66
                                                                                                          B1 D (Official Form 1, Exh. D) (12/09) – Cont.                                                Page 2


                                                                                                                  3. I certify that I requested credit counseling services from an approved agency but
                                                                                                          was unable to obtain the services during the seven days from the time I made my request, and the
                                                                                                          following exigent circumstances merit a temporary waiver of the credit counseling requirement
                                                                                                          so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




                                                                                                                 If your certification is satisfactory to the court, you must still obtain the credit
                                                                                                          counseling briefing within the first 30 days after you file your bankruptcy petition and
                                                                                                          promptly file a certificate from the agency that provided the counseling, together with a
                                                                                                          copy of any debt management plan developed through the agency. Failure to fulfill these
                                                                                                          requirements may result in dismissal of your case. Any extension of the 30-day deadline
                                                                                                          can be granted only for cause and is limited to a maximum of 15 days. Your case may also
                                                                                                          be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
                                                                                                          without first receiving a credit counseling briefing.

                                                                                                                 4. I am not required to receive a credit counseling briefing because of: [Check the
                                                                                                          applicable statement.] [Must be accompanied by a motion for determination by the court.]
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                         Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental
                                                                                                                 illness or mental deficiency so as to be incapable of realizing and making rational
                                                                                                                 decisions with respect to financial responsibilities.);
                                                                                                                         Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the
                                                                                                                 extent of being unable, after reasonable effort, to participate in a credit counseling
                                                                                                                 briefing in person, by telephone, or through the Internet.);
                                                                                                                         Active military duty in a military combat zone.

                                                                                                                 5. The United States trustee or bankruptcy administrator has determined that the credit
                                                                                                          counseling requirement of 11 U.S.C. § 109(h) does not apply in this district.

                                                                                                                 I certify under penalty of perjury that the information provided above is true and
                                                                                                          correct.



                                                                                                                                    Signature of Joint Debtor:           /s/ Monique Shamese Hayes
                                                                                                                                                                        MONIQUE SHAMESE HAYES

                                                                                                                                                                     6/13/2014
                                                                                                                                                            Date: _________________
                                                                                                                      Case 14-40567              Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15                             Desc Main
                                                                                                                                                                 Document Page 8 of 66
                                                                                                          B 201B (Form 201B) (12/09)
                                                                                                                                                United States Bankruptcy Court
                                                                                                                                                            Middle District of Georgia



                                                                                                          In re   Tony Hayes & Monique Shamese Hayes                                                   Case No.
                                                                                                                                    Debtor                                                                                    (If known)



                                                                                                                                  CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                                                      UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                                                            Certification of [Non-Attorney] Bankruptcy Petition Preparer

                                                                                                                    I, the [non-attorney] bankruptcy petition preparer signing the debtor's petition, hereby certify that I delivered to the
                                                                                                           debtor the attached notice, as required by § 342(b) of the Bankruptcy Code
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                            Printed name and title, if any, of Bankruptcy Petition Preparer                    Social Security number (If the bankruptcy petition
                                                                                                            Address:                                                                           preparer is not an individual, state the Social Security
                                                                                                                                                                                               number of the officer, principal, responsible person,
                                                                                                                                                                                               or partner of the bankruptcy petition preparer.)
                                                                                                                                                                                               (Required by 11 U.S.C. § 110.)

                                                                                                            X
                                                                                                            Signature of Bankruptcy Petition Preparer or officer,
                                                                                                            Principal, responsible person, or partner whose Social
                                                                                                            Security number is provided above.




                                                                                                                                                                     Certification of the Debtor
                                                                                                                     I, (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy
                                                                                                           Code

                                                                                                            Tony Hayes & Monique Shamese Hayes                                                 X   /s/ Tony Hayes                          6/13/2014
                                                                                                            Printed Names(s) of Debtor(s)                                                          Signature of Debtor                            Date

                                                                                                            Case No. (if known)                                                                X   /s/ Monique Shamese Hayes               6/13/2014
                                                                                                                                                                                                   Signature of Joint Debtor, (if any)           Date




                                                                                                            Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                                                            Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                                                            NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by
                                                                                                            the debtor's attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy
                                                                                                            petition preparers on page 3 of Form B1 also include this certification.
                                                                                                                        Case
                                                                                                          B7 (Official Form      14-40567
                                                                                                                            7) (04/13)          Doc 1        Filed 06/13/14            Entered 06/13/14 16:04:15                     Desc Main
                                                                                                                                                          Document
                                                                                                                                                      UNITED STATES Page 9 of 66
                                                                                                                                                                    BANKRUPTCY   COURT
                                                                                                                                                                   Middle District of Georgia

                                                                                                           In Re Tony Hayes & Monique Shamese Hayes                                                              Case No.
                                                                                                                                                                                                                                  (if known)


                                                                                                                                                             STATEMENT OF FINANCIAL AFFAIRS

                                                                                                                            This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which
                                                                                                                  the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish
                                                                                                                  information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
                                                                                                                  filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or self-employed professional, should
                                                                                                                  provide the information requested on this statement concerning all such activities as well as the individual's personal affairs. To
                                                                                                                  indicate payments, transfers and the like to minor children, state the child's initials and the name and address of the child's parent
                                                                                                                  or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.
                                                                                                                  R. Bankr. P. 1007(m).

                                                                                                                            Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also
                                                                                                                  must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional
                                                                                                                  space is needed for the answer to any question, use and attach a separate sheet properly identified with the case name, case number
                                                                                                                  (if known), and the number of the question.

                                                                                                                  DEFINITIONS

                                                                                                                             "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                                                                  individual debtor is "in business" for the purpose of this form if the debtor is or has been, within six years immediately preceding
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                  the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5 percent or more of
                                                                                                                  the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or self-
                                                                                                                  employed full-time or part-time. An individual debtor also may be “in business” for the purpose of this form if the debtor engages
                                                                                                                  in a trade, business, or other activity, other than as an employee, to supplement income from the debtor’s primary employment.

                                                                                                                             "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                                                                  their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any persons in
                                                                                                                  control of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
                                                                                                                  the debtor. 11 U.S.C. § 101(2), (31).



                                                                                                                            1. Income from employment or operation of business

                                                                                                                            State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of
                                                                                                                            the debtor's business, including part-time activities either as an employee or in independent trade or business, from the
                                                                                                                 None       beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the
                                                                                                                            two years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on
                                                                                                                            the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates
                                                                                                                            of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
                                                                                                                            under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the
                                                                                                                            spouses are separated and a joint petition is not filed.)

                                                                                                                                    AMOUNT                                                 SOURCE

                                                                                                                     2014(db)       8,738.91       SOCIAL SECURITY, WINN DIXIE AND
                                                                                                                                                   PUBLIX

                                                                                                                     2013(db)     24,745.00        PUBLIX AND SOCIAL SECURITY

                                                                                                                     2012(db)13,632.00             SOCIAL SECURITY



                                                                                                                     2014(jdb)      7,200.00       SELF EMPLOYED

                                                                                                                     2013(jdb) 14,147.00           SELF EMPLOYED

                                                                                                                     2012(jdb) 13,940.00           SELF EMPLOYED
                                                                                                              Case 14-40567               Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15                                 Desc Main
                                                                                                          B7 (Official Form 7) (04/13)
                                                                                                                                                         Document Page 10 of 66                                                                  2




                                                                                                                     2.   Income other than from employment or operation of business

                                                                                                          None             State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                                                     of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                                                     particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter
                                                                                                                     12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the spouses are
                                                                                                                     separated and a joint petition is not filed.)

                                                                                                                      AMOUNT                                                             SOURCE




                                                                                                                     3. Payments to creditors
                                                                                                          None

                                                                                                                     Complete a. or b., as appropriate, and c.
                                                                                                                     a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of
                                                                                                                     goods or services, and other debts to any creditor made within 90 days immediately preceding the commencement of
                                                                                                                     this case unless the aggregate value of all property that constitutes or is affected by such transfer is less than $600.
                                                                                                                     Indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support obligation
                                                                                                                     or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and creditor
                                                                                                                     counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
                                                                                                                     spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          NAME AND ADDRESS OF CREDITOR                                  DATES OF                            AMOUNT              AMOUNT STILL
                                                                                                                                                                        PAYMENTS                              PAID                 OWING


                                                                                                          Nationstar Mortgage                                  5/7/2014                                   $1,197.00           $136,697.00
                                                                                                          Bankruptcy Dept.
                                                                                                          350 Highland Drive
                                                                                                          Lewisville, TX 75067

                                                                                                          Cashwells Title Pawn                                 monthly                                      $300.00              $3,300.00
                                                                                                          2503 Manchester Expressway
                                                                                                          Columbus, GA 31904

                                                                                                          Badcock & More                                       monthly                                      $250.00            $2,3367.86
                                                                                                          201 W. Main Street
                                                                                                          Manchester, GA 31816
                                                                                                              Case 14-40567                Doc 1         Filed 06/13/14 Entered 06/13/14 16:04:15                                   Desc Main
                                                                                                          B7 (Official Form 7) (04/13)
                                                                                                                                                           Document Page 11 of 66                                                                      3




                                                                                                          None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made
                                                                                                                     within 90 days immediately preceding the commencement of the case unless the aggregate value of all property that
                                                                                                                     constitutes or is affected by such transfer is less than $6,225*. If the debtor is an individual, indicate with an asterisk
                                                                                                                     (*)any payments that were made to a creditor on account of a domestic support obligation or as part of an
                                                                                                                     alternativerepayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
                                                                                                                     (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both
                                                                                                                     spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                                                          *Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after date of adjustment.
                                                                                                           NAME AND ADDRESS OF CREDITOR                                  DATES OF                              AMOUNT               AMOUNT STILL
                                                                                                            AND RELATIONSHIP TO DEBTOR                                   PAYMENTS                                PAID                  OWING



                                                                                                          None

                                                                                                                     c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or
                                                                                                                     for the benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                                                     include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                           NAME AND ADDRESS OF CREDITOR                                  DATES OF                        AMOUNT PAID             AMOUNT STILL
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                            AND RELATIONSHIP TO DEBTOR                                   PAYMENTS                                                   OWING


                                                                                                                     4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                                                          None       a.    List all suits and administrative proceedings to which the debtor is or was a party within one year immediately
                                                                                                                     preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                     information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                           CAPTION OF SUIT                    NATURE OF PROCEEDING                            COURT OR                                 STATUS OR
                                                                                                          AND CASE NUMBER                                                                AGENCY AND LOCATION                           DISPOSITION


                                                                                                          None       b.     Describe all property that has been attached, garnished or seized under any legal or equitable process within
                                                                                                                     one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter
                                                                                                                     13 must include information concerning property of either or both spouses whether or not a joint petition is filed,
                                                                                                                     unless the spouses are separated and a joint petition is not filed.)


                                                                                                             NAME AND ADDRESS OF                                            DATE OF                                         DESCRIPTION AND
                                                                                                           PERSON FOR WHOSE BENEFIT                                         SEIZURE                                        VALUE OF PROPERTY
                                                                                                             PROPERTY WAS SEIZED
                                                                                                              Case 14-40567               Doc 1         Filed 06/13/14 Entered 06/13/14 16:04:15                                  Desc Main
                                                                                                          B7 (Official Form 7) (04/13)
                                                                                                                                                          Document Page 12 of 66                                                                   4




                                                                                                                     5.   Repossessions, foreclosures and returns

                                                                                                          None             List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                                                     lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this case.
                                                                                                                     (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or
                                                                                                                     both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                              NAME AND                                    DATE OF REPOSESSION,                                            DESCRIPTION AND
                                                                                                             ADDRESS OF                                    FORECLOSURE SALE,                                             VALUE OF PROPERTY
                                                                                                          CREDITOR OR SELLER                              TRANSFER OR RETURN

                                                                                                          Gil's Auto Sales                                  repoed                                                 1999 Grand Marquis
                                                                                                          1712 E. 280 Bypass
                                                                                                          Phenix City, AL 36867

                                                                                                          Gil's Auto Sales                                  repoed                                                 1999 Grand Marquis
                                                                                                          1712 E. 280 Bypass                                                                                       (second vehicle)
                                                                                                          Phenix City, AL 36867

                                                                                                          Community Finance                                 repoed                                                 1998 Chevrolet Cavalier
                                                                                                          Title Finance Company
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          80 Buena Vista Road
                                                                                                          Columbus, GA 31906

                                                                                                          Community Finance                                 repoed                                                 1999 Grand Marquis
                                                                                                          Title Finance Company
                                                                                                          80 Buena Vista Road
                                                                                                          Columbus, GA 31906

                                                                                                          Consolidated Loan                                 repoed                                                 1993 BMW
                                                                                                          5870 Veterans Parkway Suite E
                                                                                                          Columbus, GA 31909


                                                                                                                     6. Assignments and Receiverships

                                                                                                          None       a.     Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding
                                                                                                                     the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any
                                                                                                                     assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                                                                     joint petition is not filed.)


                                                                                                                   NAME AND                                      DATE OF ASSIGNMENT                                   TERMS OF
                                                                                                                  ADDRESS OF                                                                                         ASSIGNMENT
                                                                                                                    ASSIGNEE                                                                                        OR SETTLEMENT
                                                                                                              Case 14-40567               Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15                                 Desc Main
                                                                                                          B7 (Official Form 7) (04/13)
                                                                                                                                                         Document Page 13 of 66                                                                  5




                                                                                                          None       b.     List all property which has been in the hands of a custodian, receiver, or court-appointed official within one
                                                                                                                     year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
                                                                                                                     must include information concerning property of either or both spouses whether or not a joint petition is filed, unless
                                                                                                                     the spouses are separated and a joint petition is not filed.)


                                                                                                                   NAME AND                            NAME AND LOCATION                            DATE OF                DESCRIPTION AND
                                                                                                                  ADDRESS OF                           OF COURT CASE TITLE                           ORDER                VALUE OF PROPERTY
                                                                                                                  CUSTODIAN                                 & NUMBER



                                                                                                                     7.   Gifts

                                                                                                          None            List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                                                     case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual family
                                                                                                                     member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing under chapter
                                                                                                                     12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a joint petition is filed,
                                                                                                                     unless the spouses are separated and a joint petition is not filed.)


                                                                                                                 NAME AND                               RELATIONSHIP                          DATE OF                  DESCRIPTION AND
                                                                                                                ADDRESS OF                            TO DEBTOR, IF ANY                         GIFT                    VALUE OF GIFT
                                                                                                          PERSON OR ORGANIZATION
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                     8.   Losses

                                                                                                          None                List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                                                     commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                                                     chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                                                     separated and a joint petition is not filed.)


                                                                                                              DESCRIPTION                              DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                                DATE OF
                                                                                                               AND VALUE                                  WAS COVERED IN WHOLE OR IN PART BY                                      LOSS
                                                                                                              OF PROPERTY                                     INSURANCE, GIVE PARTICULARS


                                                                                                                     9.   Payments related to debt counseling or bankruptcy

                                                                                                          None            List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                                                     for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
                                                                                                                     bankruptcy within one year immediately preceding the commencement of this case.


                                                                                                                      NAME AND ADDRESS                          DATE OF PAYMENT,                               AMOUNT OF MONEY OR
                                                                                                                          OF PAYEE                              NAME OF PAYOR IF                                 DESCRIPTION AND
                                                                                                                                                               OTHER THAN DEBTOR                                VALUE OF PROPERTY

                                                                                                          William H. Arey                                6/2/2014                                         CHAPTER 13
                                                                                                          Arey, Long and Cross, P.C.                                                                      COSTS $310.00
                                                                                                          P.O. Box 8641
                                                                                                          Columbus, GA 31908
                                                                                                              Case 14-40567                Doc 1       Filed 06/13/14 Entered 06/13/14 16:04:15                               Desc Main
                                                                                                          B7 (Official Form 7) (04/13)
                                                                                                                                                         Document Page 14 of 66                                                                6




                                                                                                                     10. Other transfers

                                                                                                          None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                                                     of the debtor, transferred either absolutely or as security within two years immediately preceding the commencement
                                                                                                                     of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses
                                                                                                                     whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                              NAME AND ADDRESS OF TRANSFEREE,                                     DATE                            DESCRIBE PROPERTY
                                                                                                                  RELATIONSHIP TO DEBTOR                                                                           TRANSFERRED AND
                                                                                                                                                                                                                    VALUE RECEIVED


                                                                                                                     b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case
                                                                                                                     to a self-settled trust or similar device of which the debtor is a beneficiary.
                                                                                                          None

                                                                                                                 NAME OF TRUST OR OTHER DEVICE                                DATE(S) OF                      AMOUNT OF MONEY OR
                                                                                                                                                                             TRANSFER(S)                        DESCRIPTION AND
                                                                                                                                                                                                             VALUE OF PROPERTY OR
                                                                                                                                                                                                          DEBTOR'S INTEREST IN PROPERTY
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                     11. Closed financial accounts

                                                                                                          None             List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
                                                                                                                     were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this case.
                                                                                                                     Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares and share
                                                                                                                     accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and other financial
                                                                                                                     institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning accounts or
                                                                                                                     instruments held by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                                   NAME AND                             TYPE OF ACCOUNT, LAST FOUR                                       AMOUNT AND
                                                                                                                  ADDRESS OF                            DIGITS OF ACCOUNT NUMBER,                                        DATE OF SALE
                                                                                                                  INSTITUTION                          AND AMOUNT OF FINAL BALANCE                                        OR CLOSING

                                                                                                             WELLS FARGO                             CHECKING ACCOUNT                                         5/27/2014
                                                                                                                                                     Closing Balance: $15.48


                                                                                                                     12. Safe deposit boxes

                                                                                                          None                List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                                                     valuables within one year immediately preceding the commencement of this case. (Married debtors filing under
                                                                                                                     chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a joint petition
                                                                                                                     is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                                                      NAME AND                        NAMES AND ADDRESSES OF                   DESCRIPTION OF              DATE OF
                                                                                                                   ADDRESS OF BANK                   THOSE WITH ACCESS TO BOX                    CONTENTS                TRANSFER OR
                                                                                                                 OR OTHER DEPOSITORY                      OR DEPOSITORY                                                SURRENDER, IF ANY
                                                                                                              Case 14-40567               Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15                                Desc Main
                                                                                                          B7 (Official Form 7) (04/13)
                                                                                                                                                         Document Page 15 of 66                                                                 7




                                                                                                                     13. Setoffs

                                                                                                          None              List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                                                     preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                                                     information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                                                     and a joint petition is not filed.)


                                                                                                                 NAME AND ADDRESS OF CREDITOR                                    DATE                                  AMOUNT
                                                                                                                                                                                  OF                                      OF
                                                                                                                                                                                SETOFF                                  SETOFF

                                                                                                                     14. Property held for another person

                                                                                                          None            List all property owned by another person that the debtor holds or controls.


                                                                                                                     NAME AND                                DESCRIPTION AND                              LOCATION OF PROPERTY
                                                                                                                  ADDRESS OF OWNER                          VALUE OF PROPERTY


                                                                                                                     15. Prior address of debtor
                                                                                                          None
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                            If the debtor has moved within the three years immediately preceding the commencement of this case, list all
                                                                                                                     premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                                                     joint petition is filed, report also any separate address of either spouse.


                                                                                                                   ADDRESS                                           NAME USED                                    DATES OF OCCUPANCY



                                                                                                                     16. Spouses and Former Spouses
                                                                                                          None
                                                                                                                         If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                                                     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within
                                                                                                                     eight years immediately preceding the commencement of the case, identify the name of the debtor’s spouse and of
                                                                                                                     any former spouse who resides or resided with the debtor in the community property state.


                                                                                                                                   NAME


                                                                                                                     17. Environmental Sites

                                                                                                                     For the purpose of this question, the following definitions apply:

                                                                                                                     "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                                                     releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or
                                                                                                                     other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                                                     wastes, or material.

                                                                                                                                "Site" means any location, facility, or property as defined under any Environmental Law, whether or not
                                                                                                                                presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                                                                "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
                                                                                                                                hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                                                          None
                                                                                                                     a.    List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                                                     unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                                                     governmental unit, the date of the notice, and, if known, the Environmental Law:


                                                                                                                   SITE NAME                          NAME AND ADDRESS                          DATE OF                  ENVIRONMENTAL
                                                                                                                  AND ADDRESS                       OF GOVERNMENTAL UNIT                        NOTICE                        LAW
                                                                                                              Case 14-40567               Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15                                 Desc Main
                                                                                                          B7 (Official Form 7) (04/13)
                                                                                                                                                         Document Page 16 of 66                                                                  8




                                                                                                                     b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release
                                                                                                                     of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                                                          None

                                                                                                                  SITE NAME                           NAME AND ADDRESS                           DATE OF                  ENVIRONMENTAL
                                                                                                                 AND ADDRESS                        OF GOVERNMENTAL UNIT                         NOTICE                        LAW


                                                                                                                     c.    List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                                                     with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or
                                                                                                          None       was a party to the proceeding, and the docket number.


                                                                                                                    NAME AND ADDRESS                                 DOCKET NUMBER                               STATUS OR DISPOSITION
                                                                                                                  OF GOVERNMENTAL UNIT


                                                                                                                     18. Nature, location and name of business

                                                                                                          None       a.       If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                                                     businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or
                                                                                                                     managing executive of a corporation, partnership, sole proprietorship, or was self-employed in a trade, profession, or
                                                                                                                     other activity either full- or part-time within six years immediately preceding the commencement of this case, or in
                                                                                                                     which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                     preceding the commencement of this case.

                                                                                                                     If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                     beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                     voting or equity securities, within the six years immediately preceding the commencement of this case.

                                                                                                                     If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and
                                                                                                                     beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the
                                                                                                                     voting or equity securities within the six years immediately preceding the commencement of this case.

                                                                                                            NAME              LAST FOUR DIGITS OF                 ADDRESS                    NATURE OF BUSINESS BEGINNING AND
                                                                                                                              SOCIAL-SECURITY OR                                                                ENDING DATES
                                                                                                                               OTHER INDIVIDUAL
                                                                                                                                TAXPAYER-I.D. NO.
                                                                                                                              (ITIN)/ COMPLETE EIN
                                                                                                          MONIQUE HAYES                                          2 CLAUSEN DRIVE                  HAIR STYLIST                 NOVEMBER
                                                                                                                                                                 COLUMBUS, GA 31907                                            2009
                                                                                                                                                                                                                               STILL
                                                                                                                                                                                                                               OPERATING


                                                                                                                     b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
                                                                                                                     U.S.C. § 101.
                                                                                                          None

                                                                                                                     NAME                                                                                ADDRESS
                                                                                                              Case 14-40567               Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15                             Desc Main
                                                                                                          B7 (Official Form 7) (04/13)
                                                                                                                                                         Document Page 17 of 66                                                                9




                                                                                                                  The following questions are to be completed by every debtor that is a corporation or partnership and by any individual
                                                                                                          debtor who is or has been, within the six years immediately preceding the commencement of this case, any of the following: an
                                                                                                          officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities of a corporation; a
                                                                                                          partner, other than a limited partner, of a partnership; a sole proprietor or otherwise self-employed.

                                                                                                                   (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
                                                                                                          business, as defined above, within the six years immediately preceding the commencement of this case. A debtor who has
                                                                                                          not been in business within those six years should go directly to the signature page.)




                                                                                                                     19. Books, record and financial statements

                                                                                                          None       a.     List all bookkeepers and accountants who within the two years immediately preceding the filing of this
                                                                                                                     bankruptcy case kept or supervised the keeping of books of account and records of the debtor.


                                                                                                           NAME AND ADDRESS                                                               DATES SERVICES RENDERED


                                                                                                          MONIQUE HAYES                                                                      SINCE NOVEMBER 2009
                                                                                                          2 CLAUSEN DRIVE
                                                                                                          COLUMBUS, GA 31907
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          None       b.    List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case
                                                                                                                     have audited the books of account and records, or prepared a financial statement of the debtor.


                                                                                                                     NAME                                              ADDRESS                            DATES SERVICES RENDERED



                                                                                                          None       c.    List all firms or individuals who at the time of the commencement of this case were in possession of the books
                                                                                                                     of account and records of the debtor. If any of the books of account and records are not available, explain.


                                                                                                                     NAME                                                 ADDRESS


                                                                                                          MONIQUE HAYES
                                                                                                          2 CLAUSEN DRIVE
                                                                                                          COLUMBUS, GA 31907


                                                                                                          None       d.     List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
                                                                                                                     financial statement was issued within the two years immediately preceding the commencement of this case by the debtor.


                                                                                                                 NAME AND ADDRESS                                                      DATE
                                                                                                                                                                                      ISSUED
                                                                                                              Case 14-40567               Doc 1         Filed 06/13/14 Entered 06/13/14 16:04:15                                  Desc Main
                                                                                                          B7 (Official Form 7) (04/13)
                                                                                                                                                          Document Page 18 of 66                                                                   10




                                                                                                                     20. Inventories

                                                                                                          None       a.     List the dates of the last two inventories taken of your property, the name of the person who supervised the
                                                                                                                     taking of each inventory, and the dollar amount and basis of each inventory.


                                                                                                               DATE OF INVENTORY                       INVENTORY SUPERVISOR                        DOLLAR AMOUNT OF INVENTORY
                                                                                                                                                                                                    (Specify cost, market or other basis)


                                                                                                          None       b.      List the name and address of the person having possession of the records of each of the two inventories
                                                                                                                     reported in a., above.


                                                                                                                   DATE OF INVENTORY                                                  NAME AND ADDRESSES OF CUSTODIAN OF
                                                                                                                                                                                             INVENTORY RECORDS


                                                                                                                     21. Current Partners, Officers, Directors and Shareholders

                                                                                                          None       a.   If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                   NAME AND ADDRESS                         NATURE OF INTEREST                              PERCENTAGE OF INTEREST



                                                                                                          None       b.    If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly
                                                                                                                     or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.


                                                                                                                   NAME AND ADDRESS                                    TITLE                             NATURE AND PERCENTAGE OF
                                                                                                                                                                                                             STOCK OWNERSHIP


                                                                                                                     22. Former partners, officers, directors and shareholders

                                                                                                          None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
                                                                                                                     preceding the commencement of this case.


                                                                                                                          NAME                                        ADDRESS                                DATE OF WITHDRAWAL



                                                                                                          None       b.    If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated
                                                                                                                     within one year immediately preceding the commencement of this case.


                                                                                                                 NAME AND ADDRESS                                            TITLE                           DATE OF TERMINATION
                                                                                                                     Case 14-40567                  Doc 1          Filed 06/13/14 Entered 06/13/14 16:04:15                                        Desc Main
                                                                                                                 B7 (Official Form 7) (04/13)
                                                                                                                                                                     Document Page 19 of 66                                                                      11




                                                                                                                            23. Withdrawals from a partnership or distribution by a corporation

                                                                                                                 None           If the debtor is a partnership or a corporation, list all withdrawals or distributions credited or given to an insider,
                                                                                                                            including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite
                                                                                                                            during one year immediately preceding the commencement of this case.


                                                                                                                          NAME & ADDRESS OF                                   DATE AND PURPOSE                                 AMOUNT OF MONEY OR
                                                                                                                        RECIPIENT, RELATIONSHIP                                OF WITHDRAWAL                                  DESCRIPTION AND VALUE
                                                                                                                               TO DEBTOR                                                                                          OF PROPERTY


                                                                                                                            24. Tax Consolidation Group

                                                                                                                 None          If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of
                                                                                                                            any consolidated group for tax purposes of which the debtor has been a member at any time within the six-year
                                                                                                                            period immediately preceding the commencement of the case.


                                                                                                                           NAME OF PARENT CORPORATION                                           TAXPAYER IDENTIFICATION NUMBER (EIN)



                                                                                                                            25. Pension Funds
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                 None          If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to
                                                                                                                            which the debtor, as an employer, has been responsible for contributing at any time within the six-year period
                                                                                                                            immediately preceding the commencement of the case.


                                                                                                                                 NAME OF PENSION FUND                                           TAXPAYER IDENTIFICATION NUMBER (EIN)




                                                                                                                                                                   *    *    *    *    *    *


                                                                                                                 [If completed by an individual or individual and spouse]

                                                                                                                 I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments
                                                                                                                 thereto and that they are true and correct.
                                                                                                                 6/13/2014                                                                          /s/ Tony Hayes
                                                                                                          Date                                                              Signature
                                                                                                                                                                            of Debtor               TONY HAYES

                                                                                                          Date   6/13/2014                                                  Signature               /s/ Monique Shamese Hayes
                                                                                                                                                                            of Joint Debtor         MONIQUE SHAMESE HAYES
                                                                                                                            Case 14-40567                      Doc 1            Filed 06/13/14 Entered 06/13/14 16:04:15                                                  Desc Main
                                                                                                                       B7 (Official Form 7) (04/13)
                                                                                                                                                                                  Document Page 20 of 66                                                                                    12




                                                                                                                                                                                  0 continuation sheets attached
                                                                                                                                                                                _____


                                                                                                                              Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571




                                                                                                                                  DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                          compensation and have provided the debtor with a copy of this document and the notices and required under 11U.S.C. §§ 110(b), 110(h), and 342(b); (3) if
                                                                                                          rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable by bankruptcy petition preparers, I
                                                                                                          have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or accepting any fee from the debtor, as required
                                                                                                          in that section.




                                                                                                          Printed or Typed Name and Title, if any, of Bankruptcy Petition Preparer                                       Social Security No. (Required by 11 U.S.C. § 110(c).)
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or
                                                                                                          partner who signs this document.




                                                                                                          Address

                                                                                                          X
                                                                                                          Signature of Bankruptcy Petition Preparer                                                                                     Date

                                                                                                          Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document unless the bankruptcy petition preparer is
                                                                                                          not an individual:

                                                                                                          If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                          A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines
                                                                                                          or imprisonment or both. 18 U.S.C. §156.
                                                                                                                         Case
                                                                                                          B6A (Official Form 6A)14-40567
                                                                                                                                 (12/07)             Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15                                            Desc Main
                                                                                                                                                                    Document Page 21 of 66
                                                                                                          In re    Tony Hayes & Monique Shamese Hayes                                                    Case No.
                                                                                                                                     Debtor                                                                                                    (If known)

                                                                                                                                                          SCHEDULE A - REAL PROPERTY
                                                                                                             Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a co-
                                                                                                          tenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
                                                                                                          the debtor’s own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an “H,”
                                                                                                          “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor holds no interest in real property, write “None” under
                                                                                                          “Description and Location of Property.”

                                                                                                            Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                          Unexpired Leases.

                                                                                                              If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
                                                                                                          claims to hold a secured interest in the property, write “None” in the column labeled “Amount of Secured Claim.”

                                                                                                             If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C –
                                                                                                          Property Claimed as Exempt.




                                                                                                                                                                                                                HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                  OR COMMUNITY
                                                                                                                                                                                                                                         CURRENT VALUE
                                                                                                                                                                                                                                           OF DEBTOR’S
                                                                                                                        DESCRIPTION AND LOCATION                              NATURE OF DEBTOR’S                                           INTEREST IN      AMOUNT OF
                                                                                                                               OF PROPERTY                                   INTEREST IN PROPERTY                                      PROPERTY, WITHOUT     SECURED
                                                                                                                                                                                                                                         DEDUCTING ANY        CLAIM
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                                                                                                                                         SECURED CLAIM
                                                                                                                                                                                                                                          OR EXEMPTION



                                                                                                           2 CLAUSEN DRIVE, COLUMBUS, GA 31907                           Fee Simple                                 J                         147,491.00      136,493.19




                                                                                                                                                                                                        Total
                                                                                                                                                                                                                                              147,491.00

                                                                                                                                                                                                        (Report also on Summary of Schedules.)
                                                                                                                         Case
                                                                                                          B6B (Official Form 6B)14-40567
                                                                                                                                 (12/07)                           Doc 1     Filed 06/13/14 Entered 06/13/14 16:04:15                        Desc Main
                                                                                                                                                                               Document Page 22 of 66
                                                                                                          In re     Tony Hayes & Monique Shamese Hayes                                                 Case No.
                                                                                                                                            Debtor                                                                             (If known)

                                                                                                                                                             SCHEDULE B - PERSONAL PROPERTY
                                                                                                               Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories,
                                                                                                          place an “x” in the appropriate position in the column labeled “None.” If additional space is needed in any category, attach a separate sheet properly
                                                                                                          identified with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital
                                                                                                          community own the property by placing an “H,” “W,” “J,” or “C” in the column labeled “Husband, Wife, Joint, or Community.” If the debtor is an
                                                                                                          individual or a joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.

                                                                                                              Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
                                                                                                          Unexpired Leases.

                                                                                                                If the property is being held for the debtor by someone else, state that person’s name and address under “Description and Location of Property.”
                                                                                                          If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                          "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See. 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).




                                                                                                                                                                                                                                     HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                            CURRENT VALUE OF




                                                                                                                                                                                                                                       OR COMMUNITY
                                                                                                                                                                                                                                                            DEBTOR’S INTEREST
                                                                                                                                                                    N                                                                                          IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                              O                 DESCRIPTION AND LOCATION                                                   WITHOUT
                                                                                                                                                                    N                       OF PROPERTY                                                      DEDUCTING ANY
                                                                                                                                                                    E                                                                                        SECURED CLAIM
                                                                                                                                                                                                                                                              OR EXEMPTION
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                            1. Cash on hand.                                        X
                                                                                                            2. Checking, savings or other financial accounts,       X
                                                                                                            certificates of deposit, or shares in banks, savings
                                                                                                            and loan, thrift, building and loan, and homestead
                                                                                                            associations, or credit unions, brokerage houses,
                                                                                                            or cooperatives.


                                                                                                            3. Security deposits with public utilities,             X
                                                                                                            telephone companies, landlords, and others.

                                                                                                            4. Household goods and furnishings, including                  LIVINGROOM SUITE, BEDROOM SUITES,                             J                         7,000.00
                                                                                                            audio, video, and computer equipment.
                                                                                                                                                                           DININGROOM SUITE, MICROWAVE, STOVE,
                                                                                                                                                                           REFRIGERATOR, WASHER, DRYER, TV'S, DVD
                                                                                                                                                                           PLAYER, COMPUTER AND ENTERTAINMENT
                                                                                                                                                                           CENTER.
                                                                                                            5. Books. Pictures and other art objects,               X
                                                                                                            antiques, stamp, coin, record, tape, compact disc,
                                                                                                            and other collections or collectibles.

                                                                                                            6. Wearing apparel.                                            WEARING APPAREL                                               J                           800.00
                                                                                                            7. Furs and jewelry.                                           JEWELRY                                                       J                           100.00
                                                                                                            8. Firearms and sports, photographic, and other         X
                                                                                                            hobby equipment.

                                                                                                            9. Interests in insurance policies. Name                X
                                                                                                            insurance company of each policy and itemize
                                                                                                            surrender or refund value of each.

                                                                                                            10. Annuities. Itemize and name each issuer.            X
                                                                                                            11. Interests in an education IRA as defined in 26      X
                                                                                                            U.S.C. § 530(b)(1) or under a qualified State
                                                                                                            tuition plan as defined in 26 U.S.C. § 529(b)(1).
                                                                                                            Give particulars. (File separately the record(s) of
                                                                                                            any such interest(s). 11 U.S.C. § 521(c).)
                                                                                                                         Case
                                                                                                          B6B (Official Form 6B)14-40567
                                                                                                                                (12/07) -- Cont.                   Doc 1     Filed 06/13/14 Entered 06/13/14 16:04:15           Desc Main
                                                                                                                                                                               Document Page 23 of 66
                                                                                                          In re     Tony Hayes & Monique Shamese Hayes                                                  Case No.
                                                                                                                                            Debtor                                                                 (If known)

                                                                                                                                                               SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                                 (Continuation Sheet)




                                                                                                                                                                                                                        HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                               CURRENT VALUE OF




                                                                                                                                                                                                                          OR COMMUNITY
                                                                                                                                                                                                                                               DEBTOR’S INTEREST
                                                                                                                                                                    N                                                                             IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                              O                 DESCRIPTION AND LOCATION                                      WITHOUT
                                                                                                                                                                    N                       OF PROPERTY                                         DEDUCTING ANY
                                                                                                                                                                    E                                                                           SECURED CLAIM
                                                                                                                                                                                                                                                 OR EXEMPTION


                                                                                                            12. Interests in IRA, ERISA, Keogh, or other            X
                                                                                                            pension or profit sharing plans. Give particulars.

                                                                                                            13. Stock and interests in incorporated and             X
                                                                                                            unincorporated businesses. Itemize.

                                                                                                            14. Interests in partnerships or joint ventures.        X
                                                                                                            Itemize.

                                                                                                            15. Government and corporate bonds and other            X
                                                                                                            negotiable and non-negotiable instruments.

                                                                                                            16. Accounts receivable.                                X
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                            17. Alimony, maintenance, support, and property         X
                                                                                                            settlement to which the debtor is or may be
                                                                                                            entitled. Give particulars.

                                                                                                            18. Other liquidated debts owing debtor including       X
                                                                                                            tax refunds. Give particulars.

                                                                                                            19. Equitable or future interests, life estates, and    X
                                                                                                            rights or powers exercisable for the benefit of the
                                                                                                            debtor other than those listed in Schedule A - Real
                                                                                                            Property.

                                                                                                            20. Contingent and noncontingent interests in           X
                                                                                                            estate or a decedent, death benefit plan, life
                                                                                                            insurance policy, or trust.

                                                                                                            21. Other contingent and unliquidated claims of         X
                                                                                                            every nature, including tax refunds, counterclaims
                                                                                                            of the debtor, and rights of setoff claims. Give
                                                                                                            estimated value of each.

                                                                                                            22. Patents, copyrights, and other intellectual         X
                                                                                                            property. Give particulars.

                                                                                                            23. Licenses, franchises, and other general             X
                                                                                                            intangibles. Give particulars.

                                                                                                            24. Customer lists or other compilations                X
                                                                                                            containing personally identifiable information (as
                                                                                                            defined in 11 U.S.C. §101(41A)) provided to the
                                                                                                            debtor by individuals in connection with obtaining
                                                                                                            a product or service from the debtor primarily for
                                                                                                            personal, family, or household purposes.

                                                                                                            25. Automobiles, trucks, trailers, and other                   2003 CHEVROLET TRAILBLAZER                       J                         6,000.00
                                                                                                            vehicles and accessories.
                                                                                                                                                                           2001 JEEP GRAND CHEROKEE (NON                    J                         2,000.00
                                                                                                                                                                           OPERATIONAL)
                                                                                                                                                                           2004 BUICK LESABRE (JUST PURCHASED ON            J                        11,499.13
                                                                                                                                                                           5/29/2014;SURRENDER)
                                                                                                            26. Boats, motors, and accessories.                     X
                                                                                                                        Case6B)14-40567
                                                                                                          B6B (Official Form    (12/07) -- Cont.Doc                1   Filed 06/13/14 Entered 06/13/14 16:04:15                               Desc Main
                                                                                                                                                                         Document Page 24 of 66
                                                                                                          In re     Tony Hayes & Monique Shamese Hayes                                             Case No.
                                                                                                                                            Debtor                                                                          (If known)

                                                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                                                          (Continuation Sheet)




                                                                                                                                                                                                                                      HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                             CURRENT VALUE OF




                                                                                                                                                                                                                                        OR COMMUNITY
                                                                                                                                                                                                                                                             DEBTOR’S INTEREST
                                                                                                                                                               N                                                                                                IN PROPERTY,
                                                                                                                      TYPE OF PROPERTY                         O               DESCRIPTION AND LOCATION                                                           WITHOUT
                                                                                                                                                               N                     OF PROPERTY                                                              DEDUCTING ANY
                                                                                                                                                               E                                                                                              SECURED CLAIM
                                                                                                                                                                                                                                                               OR EXEMPTION


                                                                                                            27. Aircraft and accessories.                      X
                                                                                                            28. Office equipment, furnishings, and supplies.   X
                                                                                                            29. Machinery, fixtures, equipment, and supplies   X
                                                                                                            used in business.

                                                                                                            30. Inventory.                                     X
                                                                                                            31. Animals.                                       X
                                                                                                            32. Crops - growing or harvested. Give             X
                                                                                                            particulars.
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                            33. Farming equipment and implements.              X
                                                                                                            34. Farm supplies, chemicals, and feed.            X
                                                                                                            35. Other personal property of any kind not        X
                                                                                                            already listed. Itemize.




                                                                                                                                                                                   0                                                                         $
                                                                                                                                                                                          continuation sheets attached        Total                                27,399.13
                                                                                                                                                                                          (Include amounts from any continuation
                                                                                                                                                                                            sheets attached. Report total also on
                                                                                                                                                                                                  Summary of Schedules.)
                                                                                                                          Case 14-40567           Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15                          Desc Main
                                                                                                            B6C (Official Form 6C) (04/13)
                                                                                                                                                                 Document Page 25 of 66
                                                                                                          In re    Tony Hayes & Monique Shamese Hayes                                              Case No.
                                                                                                                                    Debtor                                                                               (If known)

                                                                                                                                   SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
                                                                                                            Debtor claims the exemptions to which debtor is entitled under:
                                                                                                            (Check one box)

                                                                                                                  11 U.S.C. § 522(b)(2)                                           Check if debtor claims a homestead exemption that exceeds
                                                                                                                                                                                  $155,675*.
                                                                                                                  11 U.S.C. § 522(b)(3)



                                                                                                                                                                                                                                     CURRENT
                                                                                                                                                                         SPECIFY LAW                        VALUE OF            VALUE OF PROPERTY
                                                                                                                      DESCRIPTION OF PROPERTY                          PROVIDING EACH                       CLAIMED             WITHOUT DEDUCTING
                                                                                                                                                                          EXEMPTION                        EXEMPTION                EXEMPTION


                                                                                                             2 CLAUSEN DRIVE, COLUMBUS, GA                   (Husb)OCGA §44-13-100(a)(1)                          5,498.90                 147,491.00
                                                                                                             31907                                           (Wife)OCGA §44-13-100(a)(1)                          5,498.91

                                                                                                             WEARING APPAREL                                 (Husb)OCGA §44-13-100(a)(4)                            400.00                     800.00
                                                                                                                                                             (Wife)OCGA §44-13-100(a)(4)                            400.00

                                                                                                             JEWELRY                                         (Husb)OCGA §44-13-100(a)(5)                             50.00                     100.00
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                                                             (Wife)OCGA §44-13-100(a)(5)                             50.00

                                                                                                             LIVINGROOM SUITE, BEDROOM                       (Husb)OCGA §44-13-100(a)(4)                          3,500.00                    7,000.00
                                                                                                             SUITES, DININGROOM SUITE,                       (Wife)OCGA §44-13-100(a)(4)                          3,500.00
                                                                                                             MICROWAVE, STOVE, REFRIGERATOR,
                                                                                                             WASHER, DRYER, TV'S, DVD PLAYER,
                                                                                                             COMPUTER AND ENTERTAINMENT
                                                                                                             CENTER.

                                                                                                             2003 CHEVROLET TRAILBLAZER                      (Husb)OCGA §44-13-100(a)(3)                          1,350.00                    6,000.00
                                                                                                                                                             (Wife)OCGA §44-13-100(a)(3)                          1,350.00

                                                                                                                                                             Total exemptions claimed:                           21,597.81




                                                                                                           *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                                      Case 14-40567               Doc 1                   Filed 06/13/14 Entered 06/13/14 16:04:15                                                         Desc Main
                                                                                                                                                                            Document Page 26 of 66
                                                                                                          B6D (Official Form 6D) (12/07)

                                                                                                                   Tony Hayes & Monique Shamese Hayes
                                                                                                          In re _______________________________________________,                                                             Case No. _________________________________
                                                                                                                                        Debtor                                                                                                                              (If known)

                                                                                                                             SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                    State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                                                          by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                          useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                                                          such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests.
                                                                                                                     List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, state the child's initials and the name and
                                                                                                          address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C
                                                                                                          §112 and Fed. R. Bankr. P. 1007(m). If all secured creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                                                          include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                                                          husband, wife, both of them, or the marital community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled
                                                                                                          "Husband, Wife, Joint, or Community."
                                                                                                                    If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column
                                                                                                          labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than
                                                                                                          one of these three columns.)
                                                                                                                    Total the columns labeled “Amount of Claim Without Deducting Value of Collateral” and “Unsecured Portion, if Any” in the boxes
                                                                                                          labeled “Total(s)” on the last sheet of the completed schedule. Report the total from the column labeled “Amount of Claim Without Deducting
                                                                                                          Value of Collateral” also on the Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report the total from
                                                                                                          the column labeled “Unsecured Portion, if Any” on the Statistical Summary of Certain Liabilities and Related Data.


                                                                                                                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                                                                                                                                                                       AMOUNT
                                                                                                                                                                    HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                           UNLIQUIDATED
                                                                                                                                                                                                                              CONTINGENT
                                                                                                                                                                                              DATE CLAIM WAS INCURRED,                                                    OF
                                                                                                                                                         CODEBTOR




                                                                                                                                                                                                                                                          DISPUTED
                                                                                                                                                                       ORCOMMUNITY




                                                                                                                     CREDITOR’S NAME,
                                                                                                                      MAILING ADDRESS                                                            NATURE OF LIEN, AND                                                    CLAIM            UNSECURED
                                                                                                                    INCLUDING ZIP CODE,                                                           DESCRIPTION AND                                                      WITHOUT            PORTION,
                                                                                                                   AND ACCOUNT NUMBER                                                            VALUE OF PROPERTY                                                    DEDUCTING            IF ANY
                                                                                                                     (See Instructions Above.)                                                     SUBJECT TO LIEN                                                     VALUE OF
                                                                                                                                                                                                                                                                     COLLATERAL


                                                                                                          ACCOUNT NO. 8338                                                                 Incurred: MARCH 2014
                                                                                                                                                                                           Security: LIVINGROOM SUITE,                                                                     1,667.86
                                                                                                          Badcock Furniture                                                                BEDROOM SUITE, DININGROOM
                                                                                                          W.S. Badcock Corp.                                                               SUITE, 2 TV's, COMPUTER
                                                                                                                                                                                                                                                                         2,667.86
                                                                                                          P.O. Box 1034
                                                                                                          Mulberry, FL 33860
                                                                                                                                                                                           VALUE $                1,000.00
                                                                                                          ACCOUNT NO.                                                                      Incurred: March 2014                                                                            1,700.00
                                                                                                          Badcock Furniture                                                                Security: TV, BEDROOM SUITE,
                                                                                                          W.S. Badcock Corp.                                                               LIVINGROOM SUITE
                                                                                                                                                                                                                                                                         2,700.00
                                                                                                          P.O. Box 1034
                                                                                                          Mulberry, FL 33860
                                                                                                                                                                                           VALUE $                1,000.00
                                                                                                          ACCOUNT NO.                                                                      Incurred: 5/29/2014
                                                                                                          Car Mart                                                                         Security: 2004 BUICK
                                                                                                          1301 Highway 280 Bypass                                                          LESABRE(SURRENDER)
                                                                                                                                                                                                                                                                        11,499.13              0.00
                                                                                                          Phenix City, AL 36867


                                                                                                                                                                                            VALUE $              11,499.13

                                                                                                             2
                                                                                                           _______continuation sheets attached                                                                               Subtotal     $                            16,866.99    $      3,367.86
                                                                                                                                                                                                                     (Total of this page)
                                                                                                                                                                                                                                 Total    $                                         $
                                                                                                                                                                                                                  (Use only on last page)
                                                                                                                                                                                                                                                           (Report also on       (If applicable, report
                                                                                                                                                                                                                                                           Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                 Summary of Certain
                                                                                                                                                                                                                                                                                 Liabilities and Related
                                                                                                                                                                                                                                                                                 Data.)
                                                                                                                       Case 14-40567                Doc 1                     Filed 06/13/14 Entered 06/13/14 16:04:15                                                                  Desc Main
                                                                                                                                                                                Document Page 27 of 66
                                                                                                          B6D (Official Form 6D) (12/07) – Cont.



                                                                                                                   Tony Hayes & Monique Shamese Hayes
                                                                                                          In re __________________________________________________,                                                           Case No. _________________________________
                                                                                                                                                     Debtor                                                                                                                                 (If known)



                                                                                                                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                      HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                                AMOUNT




                                                                                                                                                                                                                                                  UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                     CONTINGENT
                                                                                                                     CREDITOR’S NAME,                      CODEBTOR                             DATE CLAIM WAS INCURRED,                                                           OF




                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                              NATURE OF LIEN, AND                                                           CLAIM                UNSECURED
                                                                                                                    INCLUDING ZIP CODE,                                                             DESCRIPTION AND                                                             WITHOUT                PORTION,
                                                                                                                   AND ACCOUNT NUMBER                                                              VALUE OF PROPERTY                                                           DEDUCTING                IF ANY
                                                                                                                     (See Instructions Above.)                                                       SUBJECT TO LIEN                                                            VALUE OF
                                                                                                                                                                                                                                                                              COLLATERAL

                                                                                                          ACCOUNT NO.                                                                        Security: 2003 CHEVROLET
                                                                                                          Cashwell                                                                           TRAILBLAZER
                                                                                                          2503 Manchester Expressway                                                                                                                                                 3,300.00                0.00
                                                                                                          Columbus, GA 31904
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                                                                                             VALUE $                    6,000.00
                                                                                                          ACCOUNT NO.                                                                        Incurred: 5/12/2014
                                                                                                                                                                                                                                                                                                         1,600.00
                                                                                                                                                                                             Security: 2001 JEEP GRAND
                                                                                                          Consolidated Loan                                                                  CHEROKEE (NON OPERATIONAL)
                                                                                                          5870 Veterans Pkwy.                                                                                                                                                        3,600.00
                                                                                                          Columbus, GA 31909

                                                                                                                                                                                             VALUE $                    2,000.00
                                                                                                          ACCOUNT NO.                                                                        Incurred: March 2014
                                                                                                                                                                                             Security: BEDROOM SUITE,                                                                                     370.00
                                                                                                          Farmers Furniture                                                                  DININGROOM SUITE,
                                                                                                          P.O. Box 1140                                                                      ENTERTAINMENT CENTER
                                                                                                                                                                                                                                                                                     2,620.00
                                                                                                          Dublin, GA 31040

                                                                                                                                                                                             VALUE $                    2,250.00
                                                                                                          ACCOUNT NO. 2347                                                                   Incurred: MARCH 2014                                                                                        1,281.00
                                                                                                          Farmers Furniture                                                                  Security: CHINA CABINET AND
                                                                                                          P.O. Box 1140                                                                      CHAIRS
                                                                                                                                                                                                                                                                                     3,531.00
                                                                                                          Dublin, GA 31040

                                                                                                                                                                                             VALUE $                    2,250.00
                                                                                                          ACCOUNT NO. 7998                                                                   Lien: First Mortgage
                                                                                                          Nationstar                                                                         Security: 2 CLAUSEN DRIVE,
                                                                                                          P.O. Box 650783                                                                    COLUMBUS, GA 31907
                                                                                                                                                                                                                                                                                  136,493.19                 0.00
                                                                                                          Dallas, TX 75265

                                                                                                                                                                                             VALUE $                147,491.00
                                                                                                                     1 of ___continuation
                                                                                                          Sheet no. ___    2              sheets attached to                                                                                                                      149,544.19 $
                                                                                                                                                                                                                                 Subtotal (s)    $
                                                                                                          Schedule of Creditors Holding Secured Claims                                                                   (Total(s) of this page)
                                                                                                                                                                                                                                       Total(s) $                                                 $
                                                                                                                                                                                                                        (Use only on last page)
                                                                                                                                                                                                                                                                            (Report also on       (If applicable, report
                                                                                                                                                                                                                                                                            Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                                  Summary of Certain
                                                                                                                                                                                                                                                                                                  Liabilities and Related
                                                                                                                                                                                                                                                                                                  Data.)
                                                                                                                       Case 14-40567                Doc 1                     Filed 06/13/14 Entered 06/13/14 16:04:15                                                                Desc Main
                                                                                                                                                                                Document Page 28 of 66
                                                                                                          B6D (Official Form 6D) (12/07) – Cont.



                                                                                                                   Tony Hayes & Monique Shamese Hayes
                                                                                                          In re __________________________________________________,                                                         Case No. _________________________________
                                                                                                                                                     Debtor                                                                                                                               (If known)



                                                                                                                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                                                                                                                                   (Continuation Sheet)




                                                                                                                                                                      HUSBAND, WIFE, JOINT
                                                                                                                                                                                                                                                                              AMOUNT




                                                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                   CONTINGENT
                                                                                                                     CREDITOR’S NAME,                      CODEBTOR                             DATE CLAIM WAS INCURRED,                                                         OF




                                                                                                                                                                                                                                                               DISPUTED
                                                                                                                      MAILING ADDRESS                                                              NATURE OF LIEN, AND                                                         CLAIM              UNSECURED
                                                                                                                    INCLUDING ZIP CODE,                                                             DESCRIPTION AND                                                           WITHOUT              PORTION,
                                                                                                                   AND ACCOUNT NUMBER                                                              VALUE OF PROPERTY                                                         DEDUCTING              IF ANY
                                                                                                                     (See Instructions Above.)                                                       SUBJECT TO LIEN                                                          VALUE OF
                                                                                                                                                                                                                                                                            COLLATERAL

                                                                                                          ACCOUNT NO. 1689                                                                   Security: BRACELET
                                                                                                          Regal Jewelers
                                                                                                          1023 Broadway                                                                                                                                                              181.00                0.00
                                                                                                          Columbus, GA 31901
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                                                                                             VALUE $                      181.00
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                             VALUE $
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                             VALUE $
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                             VALUE $
                                                                                                          ACCOUNT NO.




                                                                                                                                                                                             VALUE $
                                                                                                                     2 of ___continuation
                                                                                                          Sheet no. ___    2              sheets attached to                                                                  Subtotal (s)    $                                      181.00 $              0.00
                                                                                                          Schedule of Creditors Holding Secured Claims                                                                (Total(s) of this page)
                                                                                                                                                                                                                                    Total(s) $                                  166,592.18 $           6,618.86
                                                                                                                                                                                                                     (Use only on last page)
                                                                                                                                                                                                                                                                          (Report also on       (If applicable, report
                                                                                                                                                                                                                                                                          Summary of Schedules) also on Statistical
                                                                                                                                                                                                                                                                                                Summary of Certain
                                                                                                                                                                                                                                                                                                Liabilities and Related
                                                                                                                                                                                                                                                                                                Data.)
                                                                                                                      Case 14-40567               Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15                                Desc Main
                                                                                                                                                                 Document Page 29 of 66
                                                                                                          B6E (Official Form 6E) (04/13)


                                                                                                                    Tony Hayes & Monique Shamese Hayes
                                                                                                             In re________________________________________________________________,                         Case No.______________________________
                                                                                                                                     Debtor                                                                               (if known)

                                                                                                                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                   A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                                                            unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                                                            address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                                                            property of the debtor, as of the date of the filing of the petition. Use a separate continuation sheet for each type of priority and label each with
                                                                                                            the type of priority.

                                                                                                                   The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if
                                                                                                            the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as
                                                                                                            "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed.R.Bankr.P. 1007(m).

                                                                                                                    If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                                                            entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife,
                                                                                                            both of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife,
                                                                                                            Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X"
                                                                                                            in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in
                                                                                                            more than one of these three columns.)

                                                                                                                  Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this
                                                                                                            Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.

                                                                                                                      Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                            amounts entitled to priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with
                                                                                                            primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related Data.

                                                                                                                     Report the total of amounts not entitled to priority listed on each sheet in the box labeled “Subtotals” on each sheet. Report the total of all
                                                                                                            amounts not entitled to priority listed on this Schedule E in the box labeled “Totals” on the last sheet of the completed schedule. Individual debtors
                                                                                                            with primarily consumer debts report this total also on the Statistical Summary of Certain Liabilities and Related
                                                                                                            Data.



                                                                                                                Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                                                           TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)


                                                                                                                 Domestic Support Obligations

                                                                                                                Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
                                                                                                          or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
                                                                                                          11 U.S.C. § 507(a)(1).


                                                                                                                 Extensions of credit in an involuntary case

                                                                                                                Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
                                                                                                          appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

                                                                                                                 Wages, salaries, and commissions

                                                                                                                   Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
                                                                                                           independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original petition, or the
                                                                                                           cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                                                 Contributions to employee benefit plans

                                                                                                                      Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
                                                                                                              cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

                                                                                                                   *Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                                                       Case 14-40567               Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15                              Desc Main
                                                                                                                                                                  Document Page 30 of 66
                                                                                                            B6E (Official Form 6E) (04/13) - Cont.

                                                                                                                        Tony Hayes & Monique Shamese Hayes
                                                                                                                In re________________________________________________________________,                      Case No.______________________________
                                                                                                                                        Debtor                                                                            (if known)




                                                                                                                 Certain farmers and fishermen
                                                                                                               Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


                                                                                                                 Deposits by individuals
                                                                                                               Claims of individuals up to $2,775* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
                                                                                                           that were not delivered or provided. 11 U.S.C. § 507(a)(7).

                                                                                                                 Taxes and Certain Other Debts Owed to Governmental Units

                                                                                                               Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                 Commitments to Maintain the Capital of an Insured Depository Institution

                                                                                                              Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                                                           Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                                                           U.S.C. § 507 (a)(9).



                                                                                                                 Claims for Death or Personal Injury While Debtor Was Intoxicated

                                                                                                                Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
                                                                                                          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).
                                                                                                          alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).



                                                                                                                 * Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                                                 adjustment.




                                                                                                                                                                     1
                                                                                                                                                                    ____ continuation sheets attached
                                                                                                                       Case 14-40567                Doc 1                        Filed 06/13/14 Entered 06/13/14 16:04:15                                                                Desc Main
                                                                                                                                                                                   Document Page 31 of 66
                                                                                                          B6E (Official Form 6E) (04/13) - Cont.


                                                                                                                    Tony
                                                                                                                In re     Hayes & Monique Shamese Hayes
                                                                                                                      __________________________________________________,                                                                                          Case No. _________________________________
                                                                                                                                              Debtor                                                                                                                                   (If known)

                                                                                                               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)                                          Sec. 507(a)(8)

                                                                                                                                                                                                                                                             Type of Priority for Claims Listed on This Sheet




                                                                                                                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                         ORCOMMUNITY




                                                                                                                                                                                                                      CONTINGENT
                                                                                                                                                                                                                                                                                                      AMOUNT

                                                                                                                                                            CODEBTOR
                                                                                                                      CREDITOR’S NAME,                                                         DATE CLAIM WAS




                                                                                                                                                                                                                                                  DISPUTED
                                                                                                                      MAILING ADDRESS                                                           INCURRED AND                                                       AMOUNT            AMOUNT             NOT
                                                                                                                    INCLUDING ZIP CODE,                                                        CONSIDERATION                                                         OF            ENTITLED TO       ENTITLED
                                                                                                                   AND ACCOUNT NUMBER                                                             FOR CLAIM                                                         CLAIM           PRIORITY            TO
                                                                                                                     (See instructions above..)                                                                                                                                                     PRIORITY, IF
                                                                                                                                                                                                                                                                                                        ANY

                                                                                                          ACCOUNT NO.
                                                                                                                                                                                              Incurred: 2010
                                                                                                          Georgia Department of Revenue
                                                                                                          P.O. Box 740323                                                                                                                                              743.00            743.00             0.00
                                                                                                          Atlanta, GA 30374-0323
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          ACCOUNT NO.




                                                                                                          ACCOUNT NO.




                                                                                                          ACCOUNT NO.




                                                                                                                     1 of ___continuation
                                                                                                                           1                                                                                       Subtotal                                   $        743.00      $     743.00     $       0.00
                                                                                                          Sheet no. ___                    sheets attached to Schedule of                                 (Totals of this page)
                                                                                                          Creditors Holding Priority Claims
                                                                                                                                                                                                                  Total                                       $        743.00
                                                                                                                                                                        (Use only on last page of the completed
                                                                                                                                                                        Schedule E.) Report also on the Summary
                                                                                                                                                                        of Schedules)

                                                                                                                                                                                                                   Totals                                     $                    $     743.00      $      0.00
                                                                                                                                                                        (Use only on last page of the completed
                                                                                                                                                                        Schedule E. If applicable, report also on
                                                                                                                                                                        the Statistical Summary of Certain
                                                                                                                                                                        Liabilities and Related Data.)
                                                                                                                         Case 14-40567                 Doc 1                     Filed 06/13/14 Entered 06/13/14 16:04:15                                                          Desc Main
                                                                                                                                                                                   Document Page 32 of 66
                                                                                                          B6F (Official Form 6F) (12/07)

                                                                                                                   Tony Hayes & Monique Shamese Hayes
                                                                                                           In re __________________________________________,                                                                       Case No. _________________________________
                                                                                                                                          Debtor                                                                                                                              (If known)

                                                                                                                SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority
                                                                                                           against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                                                           useful to the trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address
                                                                                                           of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and Fed. R. Bankr. P.
                                                                                                           1007(m). Do not include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                                                      If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the
                                                                                                           appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of them, or the marital
                                                                                                           community may be liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."

                                                                                                                     If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                                                           "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)

                                                                                                                     Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the
                                                                                                           Summary of Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and
                                                                                                           Related Data.
                                                                                                                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                               UNLIQUIDATED
                                                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                                                  CONTINGENT
                                                                                                                                                               CODEBTOR




                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                              DISPUTED
                                                                                                                      CREDITOR’S NAME,                                                                                                                                                       AMOUNT
                                                                                                                       MAILING ADDRESS                                                                  CONSIDERATION FOR CLAIM.
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                           OF
                                                                                                                     INCLUDING ZIP CODE,
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                                                                                                                 SO STATE.                                                                    CLAIM
                                                                                                                    AND ACCOUNT NUMBER
                                                                                                                      (See instructions above.)

                                                                                                          ACCOUNT NO.

                                                                                                          Adjustment Service of Knox
                                                                                                          P.O. Box 1512                                                                                                                                                                               544.00
                                                                                                          Knoxville, TN 37901



                                                                                                          ACCOUNT NO.         8726
                                                                                                          ARC
                                                                                                          Trans: Medical                                                                                                                                                                              597.00
                                                                                                          2915 Professional Parkway
                                                                                                          Augusta, GA 30907


                                                                                                          ACCOUNT NO.         1449                                                               Consideration: Credit card debt
                                                                                                          Capital One
                                                                                                          P.O. Box 30285                                                                                                                                                                              464.00
                                                                                                          Salt Lake City, UT 84130



                                                                                                          ACCOUNT NO.         1024                                                               Consideration: Credit card debt
                                                                                                          Capital One
                                                                                                          P.O. Box 30285                                                                                                                                                                              520.00
                                                                                                          Salt Lake City, UT 84130




                                                                                                                7
                                                                                                              _______continuation sheets attached                                                                                               Subtotal                                 $        2,125.00
                                                                                                                                                                                                                              Total                                                      $
                                                                                                                                                                               (Use only on last page of the completed Schedule F.)
                                                                                                                                                           (Report also on Summary of Schedules and, if applicable, on the Statistical
                                                                                                                                                                                 Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-40567               Doc 1                      Filed 06/13/14 Entered 06/13/14 16:04:15                                                              Desc Main
                                                                                                                                                                                Document Page 33 of 66
                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Tony Hayes & Monique Shamese Hayes
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      1384
                                                                                                          Care Credit
                                                                                                          GE Capital Cons Card Co.                                                                                                                                                                  948.00
                                                                                                          P.O. Box 960061
                                                                                                          Orlando, FL 32896-0061
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          ACCOUNT NO.      2630                                                              Consideration: Repossessed 98 Cavlier
                                                                                                          Community Finance and Loan
                                                                                                          8601 Dunwoody Place                                                                                                                                                                       708.00
                                                                                                          Atlanta, GA 30350



                                                                                                          ACCOUNT NO.

                                                                                                          Community Finance and Loan
                                                                                                          8601 Dunwoody Place                                                                                                                                                                     2,100.00
                                                                                                          Atlanta, GA 30350



                                                                                                          ACCOUNT NO.                                                                        Incurred: May 2014
                                                                                                          Consolidated Loan                                                                  Consideration: Personal loan
                                                                                                          5870 Veterans Parkway Suite E                                                                                                                                                             592.00
                                                                                                          Columbus, GA 31909



                                                                                                           ACCOUNT NO.                                                                       Consideration: 93 BMW (Totaled in Wreck)
                                                                                                          Consolidated Loan
                                                                                                          5870 Veterans Pkwy.                                                                                                                                                                     3,585.00
                                                                                                          Columbus, GA 31909



                                                                                                                     1 of _____continuation
                                                                                                          Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $     7,933.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-40567               Doc 1                      Filed 06/13/14 Entered 06/13/14 16:04:15                                                              Desc Main
                                                                                                                                                                                Document Page 34 of 66
                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Tony Hayes & Monique Shamese Hayes
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      5079                                                              Consideration: lien on household goods
                                                                                                          Covington Credit
                                                                                                          2232 Wynnton Road                                                                                                                                                                         720.00
                                                                                                          Columbus, GA 31906
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          ACCOUNT NO.      3211                                                              Consideration: Medical Services
                                                                                                          Creditor Bureau
                                                                                                          420 College Street                                                                                                                                                                         99.00
                                                                                                          Macon, GA 31201



                                                                                                          ACCOUNT NO.      3211                                                              Consideration: Medical Services
                                                                                                          Creditors Bureau Associates
                                                                                                          Trans: Mid GA Ambulance                                                                                                                                                                    99.00
                                                                                                          420 College Street
                                                                                                          Macon, GA 31201


                                                                                                          ACCOUNT NO.      2836                                                              Consideration: Credit card debt
                                                                                                          Dillards
                                                                                                          P.O. Box 981430                                                                                                                                                                           960.00
                                                                                                          El Paso, TX 79998-1430



                                                                                                           ACCOUNT NO.     4749                                                              Consideration: Credit card debt
                                                                                                          Enhanced Recovery
                                                                                                          Trans: T Mobile                                                                                                                                                                           688.00
                                                                                                          8014 Bayberry Road
                                                                                                          Jacksonville, FL 32256


                                                                                                                     2 of _____continuation
                                                                                                          Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $     2,566.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-40567               Doc 1                      Filed 06/13/14 Entered 06/13/14 16:04:15                                                              Desc Main
                                                                                                                                                                                Document Page 35 of 66
                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Tony Hayes & Monique Shamese Hayes
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                            AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.

                                                                                                          Equity Auto Loan
                                                                                                          4507 Veterans Parkway                                                                                                                                                                       424.00
                                                                                                          Columbus, GA 31904
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          ACCOUNT NO.      6643
                                                                                                          Federal Bond Collection
                                                                                                          Trans: The Medical Center                                                                                                                                                                   902.00
                                                                                                          2200 Byberry Road #120
                                                                                                          Hatboro, PA 19040


                                                                                                          ACCOUNT NO.      9942
                                                                                                          First Source
                                                                                                          Trans: Medical Center                                                                                                                                                                       369.00
                                                                                                          P.O. Box 2270
                                                                                                          Southgate, MI 48195


                                                                                                          ACCOUNT NO.                                                                        Consideration: Reposssed 96 Grand Marquis
                                                                                                          Gil's Auto Sales
                                                                                                          1712 E. 280 Bypass                                                                                                                                                    X                  12,845.00
                                                                                                          Phenix City, AL 36867



                                                                                                           ACCOUNT NO.                                                                       Consideration: Repossessed 99 Grand
                                                                                                          Gold Car Lending                                                                   Marquis
                                                                                                          1712 E. 280 Bypass                                                                                                                                                    X               Unknown
                                                                                                          Phenix City, AL 36867



                                                                                                                     3 of _____continuation
                                                                                                          Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $      14,540.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-40567               Doc 1                      Filed 06/13/14 Entered 06/13/14 16:04:15                                                              Desc Main
                                                                                                                                                                                Document Page 36 of 66
                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Tony Hayes & Monique Shamese Hayes
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      3411                                                              Consideration: Credit card debt
                                                                                                          JC Penney
                                                                                                          P.O. Box 981131                                                                                                                                                                         2,200.00
                                                                                                          El Paso, TX 79998
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          ACCOUNT NO.      1488                                                              Consideration: Credit card debt
                                                                                                          Kohl's
                                                                                                          P.O. Box 3043                                                                                                                                                                             484.00
                                                                                                          Milwaukee, WI 53201-3043



                                                                                                          ACCOUNT NO.      7970                                                              Consideration: Credit card debt
                                                                                                          Macy's
                                                                                                          P.O. Box 183083                                                                                                                                                                         1,011.00
                                                                                                          Columbus, Oh 43218-3083



                                                                                                          ACCOUNT NO.      unts                                                              Consideration: student loans deferred
                                                                                                          Mohela
                                                                                                          Department of Education                                                                                                                                                                   405.00
                                                                                                          633 Spirit Drive
                                                                                                          Chesterfield, MO 63005


                                                                                                           ACCOUNT NO.     2101                                                              Consideration: Credit card debt
                                                                                                          Nationwide Recovery
                                                                                                          Trans: Hamilton ER MED                                                                                                                                                                     75.00
                                                                                                          545 Inman Street
                                                                                                          Cleveland, TN 37311


                                                                                                                     4 of _____continuation
                                                                                                          Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $     4,175.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-40567               Doc 1                      Filed 06/13/14 Entered 06/13/14 16:04:15                                                              Desc Main
                                                                                                                                                                                Document Page 37 of 66
                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Tony Hayes & Monique Shamese Hayes
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      8356                                                              Consideration: Credit card debt
                                                                                                          Navy Federal Credit Union
                                                                                                          820 Follin Lane                                                                                                                                                                           990.00
                                                                                                          Vienna, VA 22405
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          ACCOUNT NO.      6487                                                              Consideration: Credit card debt
                                                                                                          Navy Federal Credit Union
                                                                                                          820 Follin Lane                                                                                                                                                                           520.00
                                                                                                          Vienna, VA 22405



                                                                                                          ACCOUNT NO.      7083                                                              Consideration: Credit card debt
                                                                                                          New York & Company
                                                                                                          Lerner                                                                                                                                                                                  1,000.00
                                                                                                          P.O. Box 659728
                                                                                                          San Antonio, TX 78265-9782


                                                                                                          ACCOUNT NO.      5372                                                              Incurred: FEBRUARY 2014
                                                                                                          OneMain Financial Customer Care
                                                                                                          NTBS-2320                                                                                                                                                                               8,177.85
                                                                                                          6801 Colwell Blvd.
                                                                                                          Irving, TX. 75039


                                                                                                           ACCOUNT NO.     5605                                                              Incurred: MAY 2014
                                                                                                          Patriot Loan Company                                                               Consideration: NEW MONEY $200.00
                                                                                                          4393 C Victory Drive                                                                                                                                                                    1,950.00
                                                                                                          Columbus, GA 31906



                                                                                                                     5 of _____continuation
                                                                                                          Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $    12,637.85
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-40567               Doc 1                      Filed 06/13/14 Entered 06/13/14 16:04:15                                                              Desc Main
                                                                                                                                                                                Document Page 38 of 66
                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Tony Hayes & Monique Shamese Hayes
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      3491
                                                                                                          Professional Collection Service
                                                                                                          Trans: Liss Neurology & Sleep                                                                                                                                                             151.00
                                                                                                          5156 River Road Suite I
                                                                                                          Columbus, GA 31904
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          ACCOUNT NO.      2373
                                                                                                          Revenue Recovery Corporation
                                                                                                          Trans: Doctors ER DEPT                                                                                                                                                                    544.00
                                                                                                          7005 Middlebrook Pike
                                                                                                          Knoxville, TN 37909-1156


                                                                                                          ACCOUNT NO.      4198                                                              Consideration: Credit card debt
                                                                                                          Sam's Club Credit
                                                                                                          P.O. Box 981064                                                                                                                                                                           272.00
                                                                                                          El Paso, TX 79998-1064



                                                                                                          ACCOUNT NO.      2861
                                                                                                          Source Receivables
                                                                                                          Trans: Sprint                                                                                                                                                                           1,055.00
                                                                                                          4615 Dundas Drive # 102
                                                                                                          Greensboro, NC 27407


                                                                                                           ACCOUNT NO.

                                                                                                          State Loan & Finance
                                                                                                          804 13th Street                                                                                                                                                                           250.00
                                                                                                          Phenix City, AL 36867



                                                                                                                     6 of _____continuation
                                                                                                          Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $     2,272.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                       Case 14-40567               Doc 1                      Filed 06/13/14 Entered 06/13/14 16:04:15                                                              Desc Main
                                                                                                                                                                                Document Page 39 of 66
                                                                                                          B6F (Official Form 6F) (12/07) - Cont.


                                                                                                                    Tony Hayes & Monique Shamese Hayes
                                                                                                            In re __________________________________________________,                                                            Case No. _________________________________
                                                                                                                                             Debtor                                                                                                                             (If known)


                                                                                                               SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                                                    (Continuation Sheet)




                                                                                                                                                                     HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                                                 UNLIQUIDATED
                                                                                                                                                                        ORCOMMUNITY




                                                                                                                                                                                                                                                    CONTINGENT
                                                                                                                                                          CODEBTOR
                                                                                                                     CREDITOR’S NAME,
                                                                                                                                                                                                      DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                                                 DISPUTED
                                                                                                                      MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                                                        CONSIDERATION FOR CLAIM.                                                                  OF
                                                                                                                    INCLUDING ZIP CODE,
                                                                                                                                                                                                      IF CLAIM IS SUBJECT TO SETOFF,                                                             CLAIM
                                                                                                                   AND ACCOUNT NUMBER
                                                                                                                     (See instructions above.)


                                                                                                          ACCOUNT NO.      3540                                                              Consideration: Cell Phone Services
                                                                                                          Verizon Wireless
                                                                                                          P.O. Box 105378                                                                                                                                                                           128.00
                                                                                                          Atlanta, GA 30348
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          ACCOUNT NO.      8740                                                              Consideration: Cell Phone Services
                                                                                                          Verizon Wireless
                                                                                                          P.O. Box 105378                                                                                                                                                                         2,853.00
                                                                                                          Atlanta, GA 30348



                                                                                                          ACCOUNT NO.      0501                                                              Consideration: Credit card debt
                                                                                                          Walmart
                                                                                                          P.O. Box 981401                                                                                                                                                                         1,835.00
                                                                                                          El Paso, TX 79998



                                                                                                          ACCOUNT NO.




                                                                                                           ACCOUNT NO.




                                                                                                                     7 of _____continuation
                                                                                                          Sheet no. _____    7                sheets attached                                                                                     Subtotal                                  $     4,816.00
                                                                                                          to Schedule of Creditors Holding Unsecured
                                                                                                          Nonpriority Claims                                                                                                                          Total                                 $    51,064.85
                                                                                                                                                                                                        (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                            (Report also on Summary of Schedules and, if applicable, on the
                                                                                                                                                                                               Statistical Summary of Certain Liabilities and Related Data.)
                                                                                                                         Case 14-40567             Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15                               Desc Main
                                                                                                          B6G (Official Form 6G) (12/07)
                                                                                                                                                                  Document Page 40 of 66

                                                                                                                  Tony Hayes & Monique Shamese Hayes                                         Case No.
                                                                                                          In re
                                                                                                                                    Debtor                                                                               (if known)

                                                                                                                  SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                                                      Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
                                                                                                            State nature of debtor’s interest in contract, i.e., “Purchaser,” “Agent,” etc. State whether debtor is the lessor or lessee of a lease. Provide the
                                                                                                            names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or
                                                                                                            contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe,
                                                                                                            guardian." Do not disclose the child’s name. See 11 U.S.C. § 112 and Fed. R. Bankr. P. 1007(m).

                                                                                                                  Check this box if debtor has no executory contracts or unexpired leases.


                                                                                                                                                                                             DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                                                  NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR’S INTEREST. STATE WHETHER LEASE IS FOR
                                                                                                                     OF OTHER PARTIES TO LEASE OR CONTRACT.                                   NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                                                                  NUMBER OF ANY GOVERNMENT CONTRACT.
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0
                                                                                                                       Case 14-40567              Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15                             Desc Main
                                                                                                          B6H (Official Form 6H) (12/07)                         Document Page 41 of 66



                                                                                                          In re   Tony Hayes & Monique Shamese Hayes                                        Case No.
                                                                                                                                   Debtor                                                                              (if known)


                                                                                                                                                      SCHEDULE H - CODEBTORS
                                                                                                              Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any
                                                                                                          debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community
                                                                                                          property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico,
                                                                                                          Texas, Washington, or Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the
                                                                                                          name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state,
                                                                                                          commonwealth, or territory. Include all names used by the nondebtor spouse during the eight years immediately preceding the
                                                                                                          commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and address of the child's
                                                                                                          parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See 11 U.S.C. § 112 and
                                                                                                          Fed. Bankr. P. 1007(m).
                                                                                                              Check this box if debtor has no codebtors.



                                                                                                                        NAME AND ADDRESS OF CODEBTOR                                                   NAME AND ADDRESS OF CREDITOR
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0
                                                                                                                             Case 14-40567              Doc 1       Filed 06/13/14 Entered 06/13/14 16:04:15                                      Desc Main
                                                                                                                                                                      Document Page 42 of 66
                                                                                                           Fill in this information to identify your case:


                                                                                                           Debtor 1           Tony Hayes
                                                                                                                              __________________________________________________________ _________
                                                                                                                               First Name             Middle Name             Last Name

                                                                                                           Debtor 2            Monique Shamese Hayes
                                                                                                                               __________________________________________________________________
                                                                                                           (Spouse, if filing) First Name             Middle Name             Last Name

                                                                                                                                                         Middle
                                                                                                           United States Bankruptcy Court for the: ___________________________             GA
                                                                                                                                                                               District of ________

                                                                                                           Case number         ___________________________________________                                         Check if this is:
                                                                                                            (If known)
                                                                                                                                                                                                                         An amended filing
                                                                                                                                                                                                                         A supplement showing post-petition
                                                                                                                                                                                                                         chapter 13 income as of the following date:
                                                                                                                                                                                                                         ________________
                                                                                                          Official Form                     6I                                                                           MM / DD / YYYY


                                                                                                          Schedule I: Your Income                                                                                                                                 12/13

                                                                                                          Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
                                                                                                          supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
                                                                                                          If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
                                                                                                          separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


                                                                                                           Part 1:           Describe Employment


                                                                                                          1. Fill in your employment
                                                                                                              information.                                                          Debtor 1                                          Debtor 2 or non-filing spouse
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                              If you have more than one job,
                                                                                                              attach a separate page with                                       X
                                                                                                              information about additional         Employment status                   Employed                                           Employed
                                                                                                              employers.                                                               Not employed                                   X   Not employed
                                                                                                              Include part-time, seasonal, or
                                                                                                              self-employed work.                                             Deli Clerk                                        Hair Stylist
                                                                                                                                                   Occupation                  __________________ ________________                __________________________________
                                                                                                              Occupation may Include student
                                                                                                              or homemaker, if it applies.
                                                                                                                                                                              Winn Dixie
                                                                                                                                                   Employer’s name             __________________ ________________                __________________ ________________


                                                                                                                                                   Employer’s address         Montgomery    Raleigh
                                                                                                                                                                              _______________________________________             _______________________________________
                                                                                                                                                                                Number     Street                                  Number   Street

                                                                                                                                                                              _______________________________________             _______________________________________

                                                                                                                                                                              _______________________________________             _______________________________________

                                                                                                                                                                              Clayton, NC 27520
                                                                                                                                                                              _______________________________________             _______________________________________
                                                                                                                                                                                City                  State   ZIP Code             City                State ZIP Code

                                                                                                                                                   How long employed there?           3 months
                                                                                                                                                                                     _______                                         7 years
                                                                                                                                                                                                                                   _______

                                                                                                           Part 2:           Give Details About Monthly Income

                                                                                                              Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
                                                                                                              spouse unless you are separated.
                                                                                                              If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
                                                                                                              below. If you need more space, attach a separate sheet to this form.

                                                                                                                                                                                                              For Debtor 1         For Debtor 2 or
                                                                                                                                                                                                                                   non-filing spouse
                                                                                                           2. List monthly gross wages, salary, and commissions (before all payroll
                                                                                                               deductions). If not paid monthly, calculate what the monthly wage would be.            2.          692.74                   1,277.00
                                                                                                                                                                                                              $___________             $____________

                                                                                                           3. Estimate and list monthly overtime pay.                                                 3.            0.00
                                                                                                                                                                                                           + $___________         +            0.00
                                                                                                                                                                                                                                       $____________


                                                                                                           4. Calculate gross income. Add line 2 + line 3.                                            4.           692.74
                                                                                                                                                                                                              $__________                  1,277.00
                                                                                                                                                                                                                                       $____________



                                                                                                          Official Form       6I                                           Schedule I: Your Income                                                            page 1
                  Case 14-40567                           Doc 1              Filed 06/13/14 Entered 06/13/14 16:04:15                                         Desc Main
                                                                               Document Page 43 of 66
                  Tony Hayes
Debtor 1         _______________________________________________________                                                   Case number (if known)_____________________________________
                 First Name          Middle Name                Last Name



                                                                                                                          For Debtor 1         For Debtor 2 or
                                                                                                                                               non-filing spouse
                                                                                                                               692.74
                                                                                                                           $___________
                                                                                                                                                      1,277.00
                                                                                                                                                   $_____________
   Copy line 4 here ............................................................................................   4.

5. List all payroll deductions:

    5a. Tax, Medicare, and Social Security deductions                                                              5a.          122.71
                                                                                                                          $____________
                                                                                                                                                           0.00
                                                                                                                                                   $_____________
    5b. Mandatory contributions for retirement plans                                                               5b.            0.00
                                                                                                                           $____________                   0.00
                                                                                                                                                   $_____________
    5c. Voluntary contributions for retirement plans                                                               5c.            0.00
                                                                                                                           $____________                   0.00
                                                                                                                                                   $_____________
    5d. Required repayments of retirement fund loans                                                               5d.            0.00
                                                                                                                           $____________                   0.00
                                                                                                                                                   $_____________
    5e. Insurance                                                                                                  5e.            0.00
                                                                                                                           $____________
                                                                                                                                                           0.00
                                                                                                                                                   $_____________
    5f. Domestic support obligations                                                                               5f.
                                                                                                                                  0.00
                                                                                                                           $____________
                                                                                                                                                           0.00
                                                                                                                                                   $_____________
                                                                                                                                  0.00
                                                                                                                           $____________
                                                                                                                                                           0.00
                                                                                                                                                   $_____________
    5g. Union dues                                                                                                 5g.
    5h.                               ;
           Other deductions. Specify: __________________________________                                           5h.            0.00
                                                                                                                         + $____________       +           0.00
                                                                                                                                                   $_____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g +5h.                                     6.          122.71
                                                                                                                          $____________
                                                                                                                                                           0.00
                                                                                                                                                   $_____________

                                                                                                                               570.03                 1,277.00
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                            7.     $____________            $_____________


 8. List all other income regularly received:

    8a. Net income from rental property and from operating a business,
        profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                      0.00
                                                                                                                          $____________
                                                                                                                                                        400.00
                                                                                                                                                   $_____________
           monthly net income.                                                                                     8a.
     8b. Interest and dividends                                                                                    8b.            0.00                     0.00
                                                                                                                                                   $_____________
                                                                                                                          $____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                  0.00                     0.00
                                                                                                                          $____________            $_____________
           settlement, and property settlement.                                                                    8c.
    8d. Unemployment compensation                                                                                  8d.           0.00
                                                                                                                          $____________                    0.00
                                                                                                                                                   $_____________
     8e. Social Security                                                                                           8e.       1,136.00
                                                                                                                          $____________                    0.00
                                                                                                                                                   $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
                                                                                                                                  0.00
                                                                                                                          $____________
                                                                                                                                                        143.70
                                                                                                                                                   $_____________
         Nutrition Assistance Program) or housing subsidies.
                    ; SSI FOR SON
         Specify: ___________________________________________________              8f.

     8g. Pension or retirement income                                                                              8g.           0.00
                                                                                                                          $____________                    0.00
                                                                                                                                                   $_____________
                                        ;
     8h. Other monthly income. Specify: _______________________________                                            8h.            0.00
                                                                                                                         + $____________                 0.00
                                                                                                                                               + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                          9.        1,136.00
                                                                                                                          $____________                 543.70
                                                                                                                                                   $_____________

10. Calculate monthly income. Add line 7 + line 9.
                                                                                                                             1,706.03
                                                                                                                          $___________     +          1,820.70 = $_____________
                                                                                                                                                   $_____________     3,526.73
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                     10.

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: ______________________________________ ___________________________ ______________                                                                                   0.00
                                                                                                                                                                  11. + $_____________

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             3,526.73
                                                                                                                                                                        $_____________
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it applies                                  12.
                                                                                                                                                                        Combined
                                                                                                                                                                        monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
     X     No.
           Yes. Explain:


Official Form       6I                                                               Schedule I: Your Income                                                               page 2
                                                                                                                              Case 14-40567               Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15                                   Desc Main
                                                                                                                                                                         Document Page 44 of 66
                                                                                                            Fill in this information to identify your case:

                                                                                                            Debtor 1           Tony Hayes
                                                                                                                              __________________________________________________________________
                                                                                                                               First Name               Middle Name             Last Name                       Check if this is:
                                                                                                            Debtor 2           Monique Shamese Hayes
                                                                                                                               ________________________________________________________________
                                                                                                            (Spouse, if filing) First Name              Middle Name             Last Name
                                                                                                                                                                                                                    An amended filing
                                                                                                                                                                                                                    A supplement showing post-petition chapter 13
                                                                                                                                                          Middle
                                                                                                            United States Bankruptcy Court for the: ___________________________             GA
                                                                                                                                                                                District of ________
                                                                                                                                                                                                                    expenses as of the following date:
                                                                                                                                                                                                                    ________________
                                                                                                            Case number        ___________________________________________                                          MM / DD / YYYY
                                                                                                            (If known)
                                                                                                                                                                                                                    A separate filing for Debtor 2 because Debtor 2
                                                                                                                                                                                                                    maintains a separate household
                                                                                                          Official Form                      6J
                                                                                                          Schedule J: Your Expenses                                                                                                                            12/13

                                                                                                          Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
                                                                                                          information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
                                                                                                          (if known). Answer every question.

                                                                                                           Part 1:            Describe Your Household

                                                                                                          1. Is this a joint case?

                                                                                                                  No. Go to line 2.
                                                                                                             X    Yes. Does Debtor 2 live in a separate household?
                                                                                                                          X    No
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                               Yes. Debtor 2 must file a separate Schedule J.

                                                                                                          2. Do you have dependents?                      No                                 Dependent’s relationship to              Dependent’s    Does dependent live
                                                                                                             Do not list Debtor 1 and                 X   Yes. Fill out this information for Debtor 1 or Debtor 2                     age            with you?
                                                                                                             Debtor 2.                                    each dependent ..........................
                                                                                                                                                                                              son                                     16 years           No
                                                                                                             Do not state the dependents’                                                    __________________ _______               ________
                                                                                                             names.                                                                                                                                  X   Yes
                                                                                                                                                                                              Brother (Disabled)
                                                                                                                                                                                             __________________ _______
                                                                                                                                                                                                                                       29 years
                                                                                                                                                                                                                                      ________           No
                                                                                                                                                                                                                                                     X   Yes

                                                                                                                                                                                             __________________ _______               ________           No
                                                                                                                                                                                                                                                         Yes

                                                                                                                                                                                             __________________ _______               ________           No
                                                                                                                                                                                                                                                         Yes

                                                                                                                                                                                             __________________ _______               ________           No
                                                                                                                                                                                                                                                         Yes

                                                                                                          3. Do your expenses include                 X   No
                                                                                                             expenses of people other than
                                                                                                             yourself and your dependents?                Yes

                                                                                                          Part 2:         Estimate Your Ongoing Monthly Expenses

                                                                                                          Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
                                                                                                          expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
                                                                                                          applicable date.
                                                                                                          Include expenses paid for with non-cash government assistance if you know the value
                                                                                                          of such assistance and have included it on Schedule I: Your Income (Official Form 6I.)                                         Your expenses

                                                                                                           4. The rental or home ownership expenses for your residence. Include first mortgage payments and                                          1,148.00
                                                                                                               any rent for the ground or lot.                                                                                  4.
                                                                                                                                                                                                                                         $_____________________

                                                                                                               If not included in line 4:
                                                                                                               4a.    Real estate taxes                                                                                         4a.
                                                                                                                                                                                                                                                          0.00
                                                                                                                                                                                                                                         $_____________________
                                                                                                               4b.    Property, homeowner’s, or renter’s insurance                                                              4b.                       0.00
                                                                                                                                                                                                                                         $_____________________
                                                                                                               4c.    Home maintenance, repair, and upkeep expenses                                                             4c.                    100.00
                                                                                                                                                                                                                                         $_____________________
                                                                                                               4d.    Homeowner’s association or condominium dues                                                               4d.                       0.00
                                                                                                                                                                                                                                         $_____________________

                                                                                                          Official Form        6J                                       Schedule J: Your Expenses                                                          page 1
                  Case 14-40567                Doc 1           Filed 06/13/14 Entered 06/13/14 16:04:15                       Desc Main
                                                                 Document Page 45 of 66

 Debtor 1         Tony Hayes
                 _______________________________________________________                   Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




                                                                                                                      Your expenses

                                                                                                                                     0.00
                                                                                                                     $_________________ ____
 5. Additional mortgage payments for your residence, such as home equity loans                                5.


 6. Utilities:
                                                                                                                                      250.00
      6a.   Electricity, heat, natural gas                                                                    6a.    $_________________ ____
                                                                                                                                        85.00
      6b.   Water, sewer, garbage collection                                                                  6b.    $_________________ ____
                                                                                                                                      222.00
      6c.   Telephone, cell phone, Internet, satellite, and cable services                                    6c.    $_________________ ____
                                                                                                                                         0.00
      6d.   Other. Specify: _______________________________________________                                   6d.    $_________________ ____
                                                                                                                                      500.00
 7. Food and housekeeping supplies                                                                            7.     $_________________ ____
                                                                                                                                         0.00
 8. Childcare and children’s education costs                                                                  8.     $_________________ ____
                                                                                                                                      150.00
 9. Clothing, laundry, and dry cleaning                                                                       9.     $_________________ ____
                                                                                                                                        50.00
10.   Personal care products and services                                                                     10.    $_________________ ____
                                                                                                                                        20.00
11.   Medical and dental expenses                                                                             11.    $_________________ ____

12. Transportation. Include gas, maintenance, bus or train fare.                                                                      300.00
                                                                                                                     $_________________ ____
      Do not include car payments.                                                                            12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13.                  100.00
                                                                                                                     $_________________ ____
14.   Charitable contributions and religious donations                                                        14.                   30.00
                                                                                                                     $_________________ ____
                                                                                                                                                    1
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                     15a.
                                                                                                                                     0.00
                                                                                                                     $_________________ ____
      15b. Health insurance                                                                                   15b.                   0.00
                                                                                                                     $_________________ ____
      15c. Vehicle insurance                                                                                  15c.                 201.00
                                                                                                                     $_________________ ____
      15d. Other insurance. Specify:_______________________________________                                   15d.                   0.00
                                                                                                                     $_________________ ____

16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
                                                                                                                                     0.00
                                                                                                                     $_________________ ____
      Specify: ______________________________________ __________________                                      16.

17.   Installment or lease payments:
                                                                                                                                         0.00
      17a. Car payments for Vehicle 1                                                                         17a.   $_________________ ____
                                                                                                                                         0.00
      17b. Car payments for Vehicle 2                                                                         17b.   $_________________ ____
                                                                                                                                         0.00
      17c. Other. Specify:_________________________________ ______________                                    17c.   $_________________ ____
                                                                                                                                         0.00
      17d. Other. Specify:_________________________________ ______________                                    17d.   $_________________ ____

18.   Your payments of alimony, maintenance, and support that you did not report as deducted                                             0.00
      from your pay on line 5, Schedule I, Your Income (Official Form 6I).                                     18.   $_____________________


19.   Other payments you make to support others who do not live with you.
                                                                                                               19.                   0.00
                                                                                                                     $_____________________
      Specify:_______________________________________________________

20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

      20a. Mortgages on other property                                                                        20a.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20b. Real estate taxes                                                                                  20b.
                                                                                                                                         0.00
                                                                                                                     $_____________________

      20c. Property, homeowner’s, or renter’s insurance                                                       20c.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20d. Maintenance, repair, and upkeep expenses                                                           20d.
                                                                                                                                      0.00
                                                                                                                     $_____________________

      20e. Homeowner’s association or condominium dues                                                        20e.
                                                                                                                                     0.00
                                                                                                                     $_____________________



 Official Form     6J                                          Schedule J: Your Expenses                                                   page 2
                  Case 14-40567               Doc 1          Filed 06/13/14 Entered 06/13/14 16:04:15                            Desc Main
                                                               Document Page 46 of 66

 Debtor 1         Tony Hayes
                 _______________________________________________________                      Case number (if known)_____________________________________
                 First Name    Middle Name       Last Name




                                                                                                                                            0.00
21.    Other. Specify: ________________________________ _________________                                        21.   +$_____________________

22.    Your monthly expenses. Add lines 4 through 21.                                                                               3,156.00
                                                                                                                        $_____________________
       The result is your monthly expenses.                                                                      22.




23. Calculate your monthly net income.
                                                                                                                                       3,526.73
                                                                                                                         $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                       23a.

      23b.   Copy your monthly expenses from line 22 above.                                                     23b.                 3,156.00
                                                                                                                       – $_____________________
      23c.   Subtract your monthly expenses from your monthly income.                                                                    370.73
                                                                                                                         $_____________________
             The result is your monthly net income.                                                             23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      X   No.
          Yes.     Explain here:




 Official Form     6J                                        Schedule J: Your Expenses                                                        page 3
                                                                                                          Case 14-40567       Doc 1     Filed 06/13/14 Entered 06/13/14 16:04:15              Desc Main
                                                                                                                                          Document Page 47 of 66



                                                                                                          B6 Cover (Form 6 Cover) (12/07)



                                                                                                          FORM 6. SCHEDULES

                                                                                                          Summary of Schedules
                                                                                                          Statistical Summary of Certain Liabilities and Related Data (28 U.S.C. § 159)
                                                                                                          Schedule A - Real Property
                                                                                                          Schedule B - Personal Property
                                                                                                          Schedule C - Property Claimed as Exempt
                                                                                                          Schedule D - Creditors Holding Secured Claims
                                                                                                          Schedule E - Creditors Holding Unsecured Priority Claims
                                                                                                          Schedule F - Creditors Holding Unsecured Nonpriority Claims
                                                                                                          Schedule G - Executory Contracts and Unexpired Leases
                                                                                                          Schedule H - Codebtors
                                                                                                          Schedule I - Current Income of Individual Debtor(s)
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          Schedule J - Current Expenditures of Individual Debtor(s)

                                                                                                          Unsworn Declaration under Penalty of Perjury


                                                                                                          GENERAL INSTRUCTIONS: The first page of the debtor’s schedules and the first page of any
                                                                                                          amendments thereto must contain a caption as in Form 16B. Subsequent pages should be
                                                                                                          identified with the debtor’s name and case number. If the schedules are filed with the petition,
                                                                                                          the case number should be left blank

                                                                                                          Schedules D, E, and F have been designed for the listing of each claim only once. Even when a
                                                                                                          claim is secured only in part or entitled to priority only in part, it still should be listed only once.
                                                                                                          A claim which is secured in whole or it part should be listed on Schedule D only, and a claim
                                                                                                          which is entitled to priority in whole or in part should be listed on Schedule E only. Do not list
                                                                                                          the same claim twice. If a creditor has more than one claim, such as claims arising from separate
                                                                                                          transactions, each claim should be scheduled separately.

                                                                                                          Review the specific instructions for each schedule before completing the schedule.
                                                                                                                       Case 14-40567                 Doc 1     Filed 06/13/14 Entered 06/13/14 16:04:15                          Desc Main
                                                                                                                                                                 Document Page 48 of 66
                                                                                                                B6 Summary (Official Form 6 - Summary) (12/13)




                                                                                                                                                      United States Bankruptcy Court
                                                                                                                            Tony Hayes & Monique Shamese Hayes
                                                                                                                                                                Middle District of Georgia

                                                                                                               In re                                                                                        Case No.
                                                                                                                                                                Debtor
                                                                                                                                                                                                            Chapter        13

                                                                                                                                                               SUMMARY OF SCHEDULES
                                                                                                          Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F,
                                                                                                          I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all
                                                                                                          claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must also complete the “Statistical
                                                                                                          Summary of Certain Liabilities and Related Data” if they file a case under chapter 7, 11, or 13.
                                                                                                                                                                     AMOUNTS SCHEDULED
                                                                                                                                                         ATTACHED
                                                                                                            NAME OF SCHEDULE                              (YES/NO)       NO. OF SHEETS             ASSETS               LIABILITIES            OTHER

                                                                                                            A – Real Property
                                                                                                                                                                                              $
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                                                         YES                     1                 147,491.00

                                                                                                            B – Personal Property
                                                                                                                                                         YES                     3            $     27,399.13

                                                                                                            C – Property Claimed
                                                                                                                as exempt                                YES                     1

                                                                                                            D – Creditors Holding
                                                                                                               Secured Claims                            YES                     3                                  $     166,592.18

                                                                                                            E - Creditors Holding Unsecured
                                                                                                                Priority Claims                                                                                     $
                                                                                                               (Total of Claims on Schedule E)
                                                                                                                                                         YES                     3                                            743.00

                                                                                                            F - Creditors Holding Unsecured                                                                         $
                                                                                                                Nonpriority Claims                       YES                     8                                         51,064.85

                                                                                                            G - Executory Contracts and
                                                                                                                Unexpired Leases                         YES                     1


                                                                                                            H - Codebtors                                YES                     1

                                                                                                            I - Current Income of
                                                                                                                Individual Debtor(s)                     YES                     2                                                        $     3,526.73

                                                                                                            J - Current Expenditures of Individual
                                                                                                                Debtors(s)                               YES                     3                                                        $     3,156.00


                                                                                                                                                 TOTAL                           26           $    174,890.13       $     218,400.03
                                                                                                            OfficialCase
                                                                                                                     Form 614-40567
                                                                                                                            - Statistical Summary
                                                                                                                                            Doc 1(12/13)
                                                                                                                                                      Filed          06/13/14 Entered 06/13/14 16:04:15                      Desc Main
                                                                                                                                                                  Document Page 49 of 66
                                                                                                                                                United States Bankruptcy Court
                                                                                                                                                                  Middle District of Georgia

                                                                                                                       In re       Tony Hayes & Monique Shamese Hayes                                      Case No.
                                                                                                                                                                 Debtor
                                                                                                                                                                                                           Chapter      13

                                                                                                          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)

                                                                                                               If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
                                                                                                          §101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.

                                                                                                                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
                                                                                                          information here.

                                                                                                          This information is for statistical purposes only under 28 U.S.C. § 159.

                                                                                                          Summarize the following types of liabilities, as reported in the Schedules, and total them.



                                                                                                             Type of Liability                                                             Amount
                                                                                                             Domestic Support Obligations (from Schedule E)                            $
                                                                                                                                                                                                    0.00
                                                                                                             Taxes and Certain Other Debts Owed to Governmental Units (from            $
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                             Schedule E)
                                                                                                                                                                                                743.00
                                                                                                             Claims for Death or Personal Injury While Debtor Was Intoxicated (from    $
                                                                                                             Schedule E) (whether disputed or undisputed)                                           0.00
                                                                                                             Student Loan Obligations (from Schedule F)                                $
                                                                                                                                                                                                405.00
                                                                                                             Domestic Support, Separation Agreement, and Divorce Decree                $
                                                                                                             Obligations Not Reported on Schedule E                                                 0.00
                                                                                                             Obligations to Pension or Profit-Sharing, and Other Similar Obligations   $
                                                                                                             (from Schedule F)                                                                      0.00

                                                                                                                                                                              TOTAL    $       1,148.00


                                                                                                            State the Following:
                                                                                                             Average Income (from Schedule I, Line 12)                                 $       3,526.73
                                                                                                             Average Expenses (from Schedule J, Line 22)                               $
                                                                                                                                                                                               3,156.00
                                                                                                             Current Monthly Income (from Form 22A Line 12; OR, Form
                                                                                                             22B Line 11; OR, Form 22C Line 20 )                                       $
                                                                                                                                                                                               1,511.07



                                                                                                            State the Following:
                                                                                                             1. Total from Schedule D, “UNSECURED PORTION, IF                                              $
                                                                                                             ANY” column                                                                                         6,618.86

                                                                                                             2. Total from Schedule E, “AMOUNT ENTITLED TO                             $
                                                                                                             PRIORITY” column.                                                                  743.00

                                                                                                             3. Total from Schedule E, “AMOUNT NOT ENTITLED TO                                             $
                                                                                                             PRIORITY, IF ANY” column                                                                                 0.00

                                                                                                             4. Total from Schedule F                                                                      $    51,064.85
                                                                                                             5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                  $
                                                                                                                                                                                                                57,683.71
                                                                                                                             Case
                                                                                                                B6 (Official Form 6 -14-40567        Doc
                                                                                                                                     Declaration) (12/07)                               1       Filed 06/13/14 Entered 06/13/14 16:04:15                                                                 Desc Main
                                                                                                                                                                                                  Document Page 50 of 66
                                                                                                                          Tony Hayes & Monique Shamese Hayes
                                                                                                                In re                                                                                                                                        Case No.
                                                                                                                                                       Debtor                                                                                                                                   (If known)

                                                                                                                                                DECLARATION CONCERNING DEBTOR'S SCHEDULES
                                                                                                                                                               DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                                                                                                                                                                    28
                                                                                                                           I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______ sheets, and that they
                                                                                                                are true and correct to the best of my knowledge, information, and belief.



                                                                                                                 Date       6/13/2014                                                                                                 Signature:          /s/ Tony Hayes
                                                                                                                                                                                                                                                                                         Debtor


                                                                                                                 Date       6/13/2014                                                                                                 Signature:          /s/ Monique Shamese Hayes
                                                                                                                                                                                                                                                                                (Joint Debtor, if any)

                                                                                                                                                                                                                                             [If joint case, both spouses must sign.]
                                                                                                             -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                                         DECLARATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)

                                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                                           compensation and have provided the debtor with a copy of this document and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                                           110(h) and 342(b); and, (3) if rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110 setting a maximum fee for services chargeable
                                                                                                           by bankruptcy petition preparers, I have given the debtor notice of the maximum amount before preparing any document for filing for a debtor or
                                                                                                           accepting any fee from the debtor, as required by that section.
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                           Printed or Typed Name and Title, if any,                                                                                             Social Security No.
                                                                                                           of Bankruptcy Petition Preparer                                                                                                 (Required by 11 U.S.C. § 110.)

                                                                                                            If the bankruptcy petition preparer is not an individual, state the name, title (if any), address, and social security number of the officer, principal, responsible person, or partner
                                                                                                            who signs this document.




                                                                                                            Address

                                                                                                            X
                                                                                                                                 Signature of Bankruptcy Petition Preparer                                                                                                      Date

                                                                                                          Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not an individual:



                                                                                                          If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


                                                                                                          A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110;
                                                                                                          18 U.S.C. § 156.
                                                                                                          -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------


                                                                                                                               DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF A CORPORATION OR PARTNERSHIP


                                                                                                                I, the __________________________________ [the president or other officer or an authorized agent of the corporation or a member
                                                                                                          or an authorized agent of the partnership ] of the ___________________________________ [corporation or partnership] named as debtor
                                                                                                          in this case, declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of _______sheets (total
                                                                                                          shown on summary page plus 1),and that they are true and correct to the best of my knowledge, information, and belief.


                                                                                                          Date                                                                                                                 Signature:


                                                                                                                                                                                                                                                [Print or type name of individual signing on behalf of debtor.]
                                                                                                                                           [An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]
                                                                                                           -------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------------
                                                                                                                  Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.
                                                                                                                      Case 14-40567            Doc 1
                                                                                                           B22C (Official Form 22C) (Chapter 13) (04/13)
                                                                                                                                                           Filed 06/13/14 Entered 06/13/14 16:04:15                             Desc Main
                                                                                                                                                             Document Page 51 of 66


                                                                                                                                                                     According to the calculations required by this statement:
                                                                                                                  Tony Hayes & Monique Shamese Hayes                    The applicable commitment period is 3 years.
                                                                                                          In re
                                                                                                                                Debtor(s)                                The applicable commitment period is 5 years.
                                                                                                                                                                         Disposable income is determined under § 1325(b)(3).
                                                                                                          Case Number:                                                   Disposable income not determined under § 1325(b)(3).
                                                                                                                               (If known)
                                                                                                                                                                     (Check the boxes as directed in Lines 17 and 23 of this statement.)


                                                                                                                                 CHAPTER 13 STATEMENT OF CURRENT MONTHLY INCOME
                                                                                                                           AND CALCULATION OF COMMITMENT PERIOD AND DISPOSABLE INCOME
                                                                                                          In addition to Schedule I and J, this statement must be completed by every individual Chapter 13 debtor, whether or not filing
                                                                                                          jointly. Joint debtors may complete one statement only.

                                                                                                                                                           Part I. REPORT OF INCOME

                                                                                                                   Marital/filing status. Check the box that applies and complete the balance of this part of this statement as directed.
                                                                                                                    a.    Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 2-10.
                                                                                                                    b.   Married. Complete both Column A (“Debtor’s Income”) and Column B ("Spouse’s Income") for Lines 2-10.
                                                                                                             1
                                                                                                                   All figures must reflect average monthly income received from all sources, derived during the               Column A      Column B
                                                                                                                   six calendar months prior to filing the bankruptcy case, ending on the last day of the month                Debtor’s      Spouse’s
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                   before the filing. If the amount of monthly income varied during the six months, you must                    Income        Income
                                                                                                                   divide the six-month total by six, and enter the result on the appropriate line.
                                                                                                             2     Gross wages, salary, tips, bonuses, overtime, commissions.                                              $      344.07 $    1,167.00
                                                                                                                   Income from the operation of a business, profession or farm. Subtract Line b from Line a
                                                                                                                   and enter the difference in the appropriate column(s) of Line 3. If you operate more than one
                                                                                                                   business, profession or farm, enter aggregate numbers and provide details on an attachment.
                                                                                                                   Do not enter a number less than zero. Do not include any part of the business expenses
                                                                                                             3     entered on Line b as a deduction in Part IV.
                                                                                                                     a.      Gross receipts                                       $                          0.00
                                                                                                                     b.      Ordinary and necessary business expenses             $                          0.00
                                                                                                                     c.      Business income                                      Subtract Line b from Line a              $       0.00 $         0.00
                                                                                                                   Rents and other real property income. Subtract Line b from Line a and enter the difference in
                                                                                                                   the appropriate column(s) of Line 4. Do not enter a number less than zero. Do not include any
                                                                                                                   part of the operating expenses entered on Line b as a deduction in Part IV.

                                                                                                             4        a.     Gross receipts                                        $                         0.00
                                                                                                                      b.     Ordinary and necessary operating expenses             $                         0.00
                                                                                                                      c.     Rent and other real property income                   Subtract Line b from Line a             $       0.00 $         0.00
                                                                                                             5     Interest, dividends and royalties.                                                                      $       0.00 $         0.00
                                                                                                             6     Pension and retirement income.                                                                          $       0.00 $         0.00
                                                                                                                   Any amounts paid by another person or entity, on a regular basis, for the household
                                                                                                                   expenses of the debtor or the debtor's dependents, including child support paid for that
                                                                                                             7     purpose. Do not include alimony or separate maintenance payments or amounts paid by the
                                                                                                                   debtor’s spouse. Each regular payment should be reported in only one column; if a payment is
                                                                                                                   listed in Column A, do not report that payment in Column B.                                             $       0.00 $         0.00
                                                                                                                     Case 14-40567             Doc 1       Filed 06/13/14 Entered 06/13/14 16:04:15
                                                                                                          B22C (Official Form 22C) (Chapter 13) (04/13) - Cont.
                                                                                                                                                                                                                     Desc Main
                                                                                                                                                             Document Page 52 of 66                                                          2

                                                                                                                 Unemployment compensation. Enter the amount in the appropriate column(s) of Line 8.
                                                                                                                 However, if you contend that unemployment compensation received by you or your spouse was a
                                                                                                                 benefit under the Social Security Act, do not list the amount of such compensation in Column A
                                                                                                           8     or B, but instead state the amount in the space below:
                                                                                                                 Unemployment compensation claimed to be a
                                                                                                                 benefit under thecompensation.
                                                                                                                 Unemployment      Social Security Enter
                                                                                                                                                   Act the amount  Debtor         0.00 column(s)
                                                                                                                                                                      in the$appropriate               0.00
                                                                                                                                                                                         Spouse $ of Line 8.    $            0.00 $         0.00
                                                                                                                 Income from all other sources. Specify source and amount. If necessary, list additional
                                                                                                                 sources on a separate page. Total and enter on Line 9. Do not include alimony or separate
                                                                                                                 maintenance payments paid by your spouse, but include all other payments of alimony or
                                                                                                                 separate maintenance. Do not include any benefits received under the Social Security Act or
                                                                                                          9      payments received as a victim of a war crime, crime against humanity, or as a victim of
                                                                                                                 international or domestic terrorism.
                                                                                                                   a.                                                                            $      0.00
                                                                                                                   b.                                                                       $       0.00            $        0.00 $         0.00
                                                                                                                 Subtotal. Add Lines 2 thru 9 in Column A, and, if Column B is completed, add Lines 2
                                                                                                          10     through 9 in Column B. Enter the total(s).                                                         $     344.07 $      1,167.00
                                                                                                                 Total. If Column B has been completed, add Line 10, Column A to Line 10, Column B, and
                                                                                                          11     enter the total. If Column B has not been completed, enter the amount from Line 10, Column         $                   1,511.07
                                                                                                                 A.
                                                                                                                                 Part II. CALCULATION OF § 1325(b)(4) COMMITMENT PERIOD
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          12     Enter the Amount from Line 11.                                                                                     $   1,511.07
                                                                                                                 Marital adjustment. If you are married, but are not filing jointly with your spouse, AND if you contend that
                                                                                                                 calculation of the commitment period under § 1325(b)(4) does not require inclusion of the income of your
                                                                                                                 spouse, enter on Line 13 the amount of the income listed in Line 10, Column B that was NOT paid on a
                                                                                                                 regular basis for the household expenses of you or your dependents and specify, in the lines below, the basis
                                                                                                                 for excluding this income (such as payment of the spouse's tax liability or the spouse's support of persons
                                                                                                                 other than the debtor or the debtor's dependents) and the amount of income devoted to each purpose. If
                                                                                                                 necessary, list additional adjustments on a separate page. If the conditions for entering this adjustment do not
                                                                                                          13     apply, enter zero.
                                                                                                                   a.                                                                          $          0.00
                                                                                                                    b.                                                                       $          0.00
                                                                                                                    c.                                                                       $          0.00
                                                                                                                  Total and enter on Line 13.                                                                                       $       0.00

                                                                                                          14     Subtract Line 13 from Line 12 and enter the result.                                                                $   1,511.07
                                                                                                          15     Annualized current monthly income for §1325(b)(4). Multiply the amount from Line 14 by the number
                                                                                                                 12 and enter the result.                                                                                           $ 18,132.84
                                                                                                                 Applicable median family income. Enter the median family income for the applicable state and household
                                                                                                                 size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the bankruptcy
                                                                                                          16     court.)
                                                                                                                                                          Georgia
                                                                                                                 a. Enter debtor’s state of residence: _______________                                         3
                                                                                                                                                                       b. Enter debtor’s household size: __________                 $ 56,647.00
                                                                                                                   Application of §1325(b)(4). Check the applicable box and proceed as directed.
                                                                                                                     The amount on Line 15 is less than the amount on Line 16. Check the box for “The applicable commitment period is
                                                                                                                     3 years” at the top of page 1 of this statement and continue with this statement.
                                                                                                          17
                                                                                                                        The amount on Line 15 is more than the amount on Line 16. Check the box for “The applicable commitment period
                                                                                                                        is 5 years” at the top of page 1 of this statement and continue with this statement.

                                                                                                                  Part III. APPLICATION OF § 1325(b)(3) FOR DETERMINING DISPOSABLE INCOME
                                                                                                          18     Enter the Amount from Line11.                                                                                      $   1,511.07
                                                                                                                        Case 14-40567          Doc 1       Filed 06/13/14 Entered 06/13/14 16:04:15
                                                                                                          B22C (Official Form 22C) (Chapter 13) (04/13) - Cont.
                                                                                                                                                                                                                      Desc Main
                                                                                                                                                             Document Page 53 of 66
                                                                                                                                                                                                                                               3

                                                                                                                 Marital adjustment. If you are married, but are not filing jointly with your spouse, enter on Line 19 the total
                                                                                                                 of any income listed in Line 10, Column B that was NOT paid on a regular basis for the household expenses
                                                                                                                 of the debtor or the debtor’s dependents. Specify, in the lines below, the basis for excluding the Column B
                                                                                                                 income (such as payment of the spouse's tax liability or the spouse's support of persons other than the debtor
                                                                                                                 or the debtor's dependents) and the amount of income devoted to each purpose. If necessary, list additional
                                                                                                                 adjustments on a separate page. If the conditions for entering this adjustment do not apply, enter zero.
                                                                                                           19      a.                                                                         $         0.00
                                                                                                                   b.                                                                         $         0.00
                                                                                                                   c.                                                                         $         0.00
                                                                                                                Total and enter on Line 19.                                                                                        $          0.00

                                                                                                          20      Current monthly income for §1325(b)(3). Subtract Line 19 from Line 18 and enter the result.                      $    1,511.07

                                                                                                          21      Annualized current monthly income for §1325(b)(3). Multiply the amount from Line 20 by the
                                                                                                                  number 12 and enter the result.                                                                                      18,132.84
                                                                                                                                                                                                                                   $
                                                                                                          22      Applicable median family income. Enter the amount from Line 16.                                                  $ 56,647.00
                                                                                                                  Application of §1325(b)(3). Check the applicable box and proceed as directed.
                                                                                                                        The amount on Line 21 is more than the amount on Line 22. Check the box for “Disposable income is determined
                                                                                                                        under §1325(b)(3)” at the top of page 1 of this statement and complete the remaining parts of this statement.
                                                                                                          23
                                                                                                                        The amount on Line 21 is not more than the amount on Line 22. Check the box for “Disposable income is not
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                        determined under §1325(b)(3)” at the top of page 1 of this statement and continue with Part VII of this statement. Do not
                                                                                                                        complete Parts IV, V or VI.
                                                                                                                                     Part IV. CALCULATION OF DEDUCTIONS FROM INCOME
                                                                                                                            Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)
                                                                                                                  National Standards: food, apparel and services, housekeeping supplies, personal care, and
                                                                                                                  miscellaneous. Enter in line 24A the “Total” amount from IRS National Standards for Allowable Living
                                                                                                          24A     Expenses for the applicable number of persons. (This information is available at www.usdoj.gov/ust/ or from
                                                                                                                  the clerk of the bankruptcy court.) The applicable number of persons is the number that would currently be
                                                                                                                  allowed as exemptions on your federal income tax return, plus the number of any additional dependents
                                                                                                                  whom you support.                                                                                                $   N.A.
                                                                                                               National Standards: health care. Enter in Line a1 below the amount from IRS National Standards for Out-
                                                                                                              of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-
                                                                                                              of-Pocket Health Care for persons 65 years of age or older. (This information is available at
                                                                                                              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the applicable number of
                                                                                                              persons who are under 65 years of age, and enter in Line b2 the applicable number of persons who are 65
                                                                                                              years of age or older. (The applicable number of persons in each age category is the number in that category
                                                                                                              that would currently be allowed as exemptions on your federal income tax return, plus the number of any
                                                                                                              additional dependents whom you support.) Multiply line a1 by Line b1 to obtain a total amount for persons
                                                                                                          24B under 65, and enter the result in Line c1. Multiply Line a2 by Line b2 to obtain a total amount for persons 65
                                                                                                              and older, and enter the result in Line c2. Add Lines c1 and c2 to obtain a total health care amount, and enter
                                                                                                              the result in Line 24B.
                                                                                                                  Persons under 65 years of age                          Persons 65 years of age or older
                                                                                                                   a1. Allowance per person                       N.A.   a2. Allowance per person                  N.A.
                                                                                                                   b1 Number of persons                           N.A.   b2. Number of persons                      N.A.
                                                                                                                   .                                              N.A.                                             N.A.
                                                                                                                   c1. Subtotal                                          c2. Subtotal                                              $   N.A.
                                                                                                              Local Standards: housing and utilities; non-mortgage expenses. Enter amount of the IRS Housing and
                                                                                                              Utilities Standards; non-mortgage expenses for the applicable county and family size. (This information is
                                                                                                          25A available at www.usdoj.gov/ust/
                                                                                                                                              or from the clerk of the bankruptcy court.) The applicable family size
                                                                                                              consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
                                                                                                              the number of any additional dependents whom you support.                                                            $   N.A.
                                                                                                                        Case 14-40567           Doc 1      Filed 06/13/14 Entered 06/13/14 16:04:15
                                                                                                          B22C (Official Form 22C) (Chapter 13) (04/13) - Cont.
                                                                                                                                                                                                                      Desc Main
                                                                                                                                                             Document Page 54 of 66                                                     4

                                                                                                              Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
                                                                                                              IRS Housing and Utilities Standards; mortgage/rent expense for your county and family size (this information
                                                                                                              is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court) (the applicable family size
                                                                                                              consists of the number that would currently be allowed as exemptions on your federal income tax return, plus
                                                                                                              the number of any additional dependents whom you support); enter on Line b the total of the Average
                                                                                                              Monthly Payments for any debts secured by your home, as stated in Line 47; subtract Line b from Line a and
                                                                                                          25B enter the result in Line 25B. Do not enter an amount less than zero.

                                                                                                                   a.        IRS Housing and Utilities Standards; mortgage/rental expense   $                     N.A.
                                                                                                                             Average Monthly Payment for any debts secured by your home,
                                                                                                                   b.                                                                    $                        N.A.
                                                                                                                             if any, as stated in Line 47
                                                                                                                   c.        Net mortgage/rental expense                                    Subtract Line b from Line a.          $   N.A.
                                                                                                                Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 25A
                                                                                                                and 25B does not accurately compute the allowance to which you are entitled under the IRS Housing and
                                                                                                                Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
                                                                                                           26   your contention in the space below:


                                                                                                                                                                                                                                  $   N.A.

                                                                                                               Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to an
                                                                                                               expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
                                                                                                               regardless of whether you use public transportation.
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                               Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
                                                                                                               are included as a contribution to your household expenses in Line 7.                0     1       2 or more.
                                                                                                          27A If you checked 0, enter on Line 27A the “Public Transportation” amount from IRS Local Standards:
                                                                                                               Transportation. If you checked 1 or 2 or more, enter on Line 27A the “Operating Costs” amount from IRS
                                                                                                               Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
                                                                                                               Statistical Area or Census Region. (These amounts are available at www.usdoj.gov/ust/ or from the clerk of
                                                                                                                                                                                                                            $         N.A.
                                                                                                               the bankruptcy court.)
                                                                                                               Local Standards: transportation; additional public transportation expense. If you pay the operating
                                                                                                               expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
                                                                                                           27B additional deduction for your public transportation expenses, enter on Line 27B the “Public Transportation”
                                                                                                               amount from the IRS Local Standards: Transportation. (This amount is available at www.usdoj.gov/ust/ or
                                                                                                               from the clerk of the bankruptcy court.)                                                                     $         N.A.
                                                                                                                Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
                                                                                                                which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
                                                                                                                two vehicles.)      1       2 or more.
                                                                                                                Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
                                                                                                                (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                                                Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 47; subtract Line b from
                                                                                                                Line a and enter the result in Line 28. Do not enter an amount less than zero.
                                                                                                           28
                                                                                                                        a.      IRS Transportation Standards, Ownership Costs                   $                 N.A.
                                                                                                                                Average Monthly Payment for any debts secured by Vehicle 1,
                                                                                                                        b.      as stated in Line 47                                            $                 N.A.
                                                                                                                        c.      Net ownership/lease expense for Vehicle 1                       Subtract Line b from Line a.      $   N.A.
                                                                                                                     Case 14-40567             Doc 1       Filed 06/13/14 Entered 06/13/14 16:04:15
                                                                                                          B22C (Official Form 22C) (Chapter 13) (04/13) - Cont.
                                                                                                                                                                                                                        Desc Main          5
                                                                                                                                                             Document Page 55 of 66


                                                                                                                 Local Standards: transportation ownership/lease expense; Vehicle 2. Complete this Line only if you
                                                                                                                 checked the “2 or more” Box in Line 28.
                                                                                                                 Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
                                                                                                                 (available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
                                                                                                          29     Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 47; subtract Line b from
                                                                                                                 Line a and enter the result in Line 29. Do not enter an amount less than zero.
                                                                                                                     a.      IRS Transportation Standards, Ownership Costs                       $                   N.A.
                                                                                                                             Average Monthly Payment for any debts secured by Vehicle 2,
                                                                                                                     b.      as stated in Line 47                                                $                  N.A.
                                                                                                                     c.      Net ownership/lease expense for Vehicle 2                           Subtract Line b from Line a.
                                                                                                                                                                                                                                     $   N.A.

                                                                                                                 Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all for
                                                                                                          30     all federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
                                                                                                                 taxes, social security taxes, and Medicare taxes. Do not include real estate or sales taxes.
                                                                                                                                                                                                                                     $   N.A.
                                                                                                                 Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
                                                                                                          31     deductions that are required for your employment, such as mandatory retirement contributions, union dues,
                                                                                                                 and uniform costs. Do not include discretionary amounts, such as voluntary 401(k) contributions.           $            N.A.
                                                                                                                 Other Necessary Expenses: life insurance. Enter total average monthly premiums that you actually pay for
                                                                                                                 term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole life
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          32
                                                                                                                 or for any other form of insurance.                                                                        $            N.A.
                                                                                                                 Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are required
                                                                                                                 to pay pursuant to the order of a court or administrative agency, such as spousal or child support payments. Do
                                                                                                          33     not include payments on past due support obligations included in Line 49.                                       $       N.A.
                                                                                                                 Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
                                                                                                                 Enter the total monthly amount that you actually expend for education that is a condition of employment and
                                                                                                          34     for education that is required for a physically or mentally challenged dependent child for whom no public
                                                                                                                 education providing similar services is available.                                                                  $   N.A.
                                                                                                                 Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
                                                                                                          35     childcare—such as baby-sitting, day care, nursery and preschool. Do not include other educational
                                                                                                                                                                                                                                     $   N.A.
                                                                                                                 payments.
                                                                                                                 Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
                                                                                                                 on health care that is required for the health and welfare of yourself or your dependents, that is not reimbursed
                                                                                                          36     by insurance or paid by a health savings account, and that is in excess of the amount entered in Line 24B. Do
                                                                                                                 not include payments for health insurance or health savings accounts listed in Line 39.                           $     N.A.
                                                                                                                 Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
                                                                                                                 actually pay for telecommunications services other than your basic home telephone and cell phone service –
                                                                                                          37     such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
                                                                                                                 your health and welfare or that of your dependents. Do not include any amount previously deducted.                  $   N.A.

                                                                                                          38     Total Expenses Allowed under IRS Standards. Enter the total of Lines 24 through 37.                                 $
                                                                                                                                                                                                                                         N.A.
                                                                                                                                                   Subpart B: Additional Living Expense Deductions
                                                                                                                                          Note: Do not include any expenses that you have listed in Lines 24-37
                                                                                                                       Case 14-40567           Doc 1       Filed 06/13/14 Entered 06/13/14 16:04:15
                                                                                                          B22C (Official Form 22C) (Chapter 13) (04/13) - Cont.
                                                                                                                                                                                                                        Desc Main
                                                                                                                                                             Document Page 56 of 66                                                       6

                                                                                                                 Health Insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly
                                                                                                                 expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse, or
                                                                                                                 your dependents.
                                                                                                                    a.     Health Insurance                                                  $    N.A.
                                                                                                                    b.     Disability Insurance                                              $    N.A.
                                                                                                           39
                                                                                                                    c.     Health Savings Account                                            $    N.A.
                                                                                                              Total and enter on Line 39                                                                                             $ N.A.
                                                                                                              If you do not actually expend this total amount, state your actual total average monthly expenditures in the
                                                                                                              space below:
                                                                                                                  $          N.A.
                                                                                                              Continued contributions to the care of household or family members. Enter the total average actual
                                                                                                              monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
                                                                                                           40 elderly, chronically ill, or disabled member of your household or member of your immediate family who is
                                                                                                              unable to pay for such expenses. Do not include payments listed in Line 34.                                            $ N.A.
                                                                                                                 Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
                                                                                                           41    actually incur to maintain the safety of your family under the Family Violence Prevention and Services Act or
                                                                                                                 other applicable federal law. The nature of these expenses is required to be kept confidential by the court.        $ N.A.
                                                                                                              Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS Local
                                                                                                              Standards for Housing and Utilities that you actually expend for home energy costs. You must provide your
                                                                                                           42
                                                                                                              case trustee with documentation of your actual expenses, and you must demonstrate that the additional
                                                                                                              amount claimed is reasonable and necessary.                                                                  $ N.A.
                                                                                                               Education expenses for dependent children under18. Enter the total average monthly expenses that you
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                               actually incur, not to exceed $156.25 per child, for attendance at a private or public elementary or secondary
                                                                                                            43 school by your dependent children less than 18 years of age. You must provide your case trustee with
                                                                                                               documentation of your actual expenses, and you must explain why the amount claimed is reasonable
                                                                                                               and necessary and not already accounted for in the IRS Standards.                                                     $ N.A.
                                                                                                              Additional food and clothing expense. Enter the total average monthly amount by which your food and
                                                                                                              clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
                                                                                                           44 National Standards, not to exceed 5% of those combined allowances. (This information is available at
                                                                                                              www.usdoj.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
                                                                                                              amount claimed is reasonable and necessary.                                                                            $ N.A.
                                                                                                              Charitable contributions. Enter the amount reasonably necessary for you to expend each month on
                                                                                                           45 charitable contributions in the form of cash or financial instruments to a charitable organization as defined in
                                                                                                              26 U.S.C. § 170(c)(1)-(2). Do not include any amount in excess of 15% of your gross monthly income.
                                                                                                                                                                                                                                     $ N.A.
                                                                                                           46 Total Additional Expense Deductions under § 707(b). Enter the total of Lines 39 through 45.                            $ N.A.
                                                                                                                                                           Subpart C: Deductions for Debt Payment
                                                                                                                 Future payments on secured claims. For each of your debts that is secured by an interest in property that
                                                                                                                 you own, list the name of creditor, identify the property securing the debt, and state the Average Monthly
                                                                                                                 Payment, and check whether the payment includes taxes and insurance. The Average Monthly Payment is the
                                                                                                                 total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
                                                                                                                 filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter the
                                                                                                                 total of the Average Monthly Payments on Line 47.


                                                                                                           47           Name of Creditor                Property Securing the Debt              Average        Does payment
                                                                                                                                                                                                Monthly        include taxes or
                                                                                                                                                                                                Payment        insurance?
                                                                                                                  a.                                                                        $                       yes no
                                                                                                                  b.                                                                        $                       yes no
                                                                                                                  c.                                                                        $                        yes    no
                                                                                                                                                                                            Total: Add Lines
                                                                                                                                                                                            a, b and c                               $ N.A.
                                                                                                                       Case 14-40567           Doc 1       Filed 06/13/14 Entered 06/13/14 16:04:15
                                                                                                          B22C (Official Form 22C) (Chapter 13) (04/13) - Cont.
                                                                                                                                                                                                                       Desc Main
                                                                                                                                                             Document Page 57 of 66                                                        7


                                                                                                                 Other payments on secured claims. If any of debts listed in Line 47 are secured by your primary residence,
                                                                                                                 a motor vehicle, or other property necessary for your support or the support of your dependents, you may
                                                                                                                 include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor in addition
                                                                                                                 to the payments listed in Line 47, in order to maintain possession of the property. The cure amount would
                                                                                                                 include any sums in default that must be paid in order to avoid repossession or foreclosure. List and total any
                                                                                                          48     such amounts in the following chart. If necessary, list additional entries on a separate page.
                                                                                                                           Name of Creditor                       Property Securing the Debt     1/60th of the Cure Amount
                                                                                                                  a.                                                                             $
                                                                                                                  b.
                                                                                                                                                                                                 $
                                                                                                                  c.                                                                             $

                                                                                                          48                                                                                      Total: Add Lines a, b and c       $   N.A.
                                                                                                                 Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such as
                                                                                                                 priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy filing.
                                                                                                          49
                                                                                                                 Do not include current obligations, such as those set out in Line 33.                                            $     N.A.
                                                                                                                 Chapter 13 administrative expenses. Multiply the amount in Line a by the amount in Line b, and enter the
                                                                                                                 resulting administrative expense.
                                                                                                                  a.     Projected average monthly Chapter 13 plan payment.                      $                  N.A.
                                                                                                                         Current multiplier for your district as determined under
                                                                                                          50             schedules issued by the Executive Office for United States
                                                                                                                  b.     Trustees. (This information is available at www.usdoj.gov/ust/
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                         or from the clerk of the bankruptcy court.)                                                N.A.
                                                                                                                                                                                                 x
                                                                                                                  c.     Average monthly administrative expense of Chapter 13 case               Total: Multiply Lines a and b          N.A.
                                                                                                                                                                                                                                    $
                                                                                                          51     Total Deductions for Debt Payment. Enter the total of Lines 47 through 50.                                             N.A.
                                                                                                                                                                                                                                    $
                                                                                                                                                         Subpart D: Total Deductions from Income
                                                                                                          52     Total of all deductions from income. Enter the total of Lines 38, 46, and 51.                                      $   N.A.

                                                                                                                          Part V. DETERMINATION OF DISPOSABLE INCOME UNDER § 1325(b)(2)
                                                                                                          53     Total current monthly income. Enter the amount from Line 20.                                                       $   N.A.
                                                                                                                 Support income. Enter the monthly average of any child support payments, foster care payments, or
                                                                                                          54     disability payments for a dependent child, reported in Part I, that you received in accordance with applicable
                                                                                                                 nonbankruptcy law, to the extent reasonably necessary to be expended for such child.                                   N.A.
                                                                                                                                                                                                                                    $
                                                                                                                 Qualified retirement deductions. Enter the monthly total of (a) all amounts withheld by your employer from
                                                                                                          55     wages as contributions for qualified retirement plans, as specified in § 541(b)(7) and (b) all required
                                                                                                                 repayments of loans from retirement plans, as specified in § 362(b)(19).                                   $           N.A.

                                                                                                          56     Total of all deductions allowed under § 707(b)(2). Enter the amount from Line 52.                                  $   N.A.
                                                                                                                 Deduction for special circumstances. If there are special circumstances that justify additional expenses for
                                                                                                                 which there is no reasonable alternative, describe the special circumstances and the resulting expenses in lines
                                                                                                                 a-c below. If necessary, list additional entries on a separate page. Total the expenses and enter the total in
                                                                                                                 Line 57. You must provide your case trustee with documentation of theses expenses and you must
                                                                                                                 provide a detailed explanation of the special circumstances that make such expenses necessary and
                                                                                                                 reasonable.
                                                                                                                                    Nature of special circumstances                                   Amount of expense
                                                                                                          57
                                                                                                                  a.                                                                              $
                                                                                                                  b.                                                                              $
                                                                                                                  c.                                                                              $
                                                                                                                                                                                                 Total: Add Lines a, b and c        $   N.A.
                                                                                                                     Case 14-40567             Doc 1       Filed 06/13/14 Entered 06/13/14 16:04:15
                                                                                                          B22C (Official Form 22C) (Chapter 13) (04/13) - Cont.
                                                                                                                                                                                                                           Desc Main
                                                                                                                                                             Document Page 58 of 66
                                                                                                                                                                                                                                                   8


                                                                                                           58    Total adjustments to determine disposable income. Add the amounts on Lines 54, 55, 56 and 57 and enter
                                                                                                                 the result.                                                                                                          $     N.A.

                                                                                                           59    Monthly Disposable Income Under § 1325(b)(2). Subtract Line 58 from Line 53 and enter the result.                          N.A.
                                                                                                                                                                                                                                      $

                                                                                                                                                   Part VI: ADDITIONAL EXPENSE CLAIMS
                                                                                                                 Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
                                                                                                                 and welfare of you and your family and that you contend should be an additional deduction from your current monthly income
                                                                                                                 under § 707(b)(2)(A)(ii)(I). If necessary, list additional sources on a separate page. All figures should reflect your average
                                                                                                                 monthly expense for each item. Total the expenses.
                                                                                                                                                 Expense Description                                                 Monthly Amount
                                                                                                           60
                                                                                                                    a.                                                                                           $
                                                                                                                    b.                                                                                           $
                                                                                                                    c.                                                                                           $
                                                                                                                                                                    Total: Add Lines a, b and c                         N.A.


                                                                                                                                                                  Part VII: VERIFICATION
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                                  I declare under penalty of perjury that the information provided in this statement is true and correct. (If this a joint case,
                                                                                                                  both debtors must sign.)
                                                                                                           61          Date: 6/13/2014                             Signature:      /s/ Tony Hayes
                                                                                                                                                                                          (Debtor)

                                                                                                                         Date: 6/13/2014                            Signature:
                                                                                                                                                                                     /s/ Monique Shamese Hayes
                                                                                                                                                                                        (Joint Debtor, if any)
                                                                                                               Case 14-40567                  Doc 1   Filed 06/13/14 Entered 06/13/14 16:04:15                Desc Main
                                                                                                                                                        Document Page 59 of 66

                                                                                                                                                       Form 22 Continuation Sheet
                                                                                                          Income Month 1                                                  Income Month 2


                                                                                                          Gross wages, salary, tips...                692.74   1,277.00   Gross wages, salary, tips...         1,050.53   1,162.00
                                                                                                          Income from business...                       0.00       0.00   Income from business...                  0.00       0.00
                                                                                                          Rents and real property income...             0.00       0.00   Rents and real property income...        0.00       0.00
                                                                                                          Interest, dividends...                        0.00       0.00   Interest, dividends...                   0.00       0.00
                                                                                                          Pension, retirement...                        0.00       0.00   Pension, retirement...                   0.00       0.00
                                                                                                          Contributions to HH Exp...                    0.00       0.00   Contributions to HH Exp...               0.00       0.00
                                                                                                          Unemployment...                               0.00       0.00   Unemployment...                          0.00       0.00
                                                                                                          Other Income...                               0.00       0.00   Other Income...                          0.00       0.00



                                                                                                          Income Month 3                                                  Income Month 4


                                                                                                          Gross wages, salary, tips...                321.16   1,143.00   Gross wages, salary, tips...             0.00   1,120.00
                                                                                                          Income from business...                       0.00       0.00   Income from business...                  0.00       0.00
                                                                                                          Rents and real property income...             0.00       0.00   Rents and real property income...        0.00       0.00
                                                                                                          Interest, dividends...                        0.00       0.00   Interest, dividends...                   0.00       0.00
                                                                                                          Pension, retirement...                        0.00       0.00   Pension, retirement...                   0.00       0.00
                                                                                                          Contributions to HH Exp...                    0.00       0.00   Contributions to HH Exp...               0.00       0.00
                                                                                                          Unemployment...                               0.00       0.00   Unemployment...                          0.00       0.00
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          Other Income...                               0.00       0.00   Other Income...                          0.00       0.00


                                                                                                          Income Month 5                                                  Income Month 6


                                                                                                          Gross wages, salary, tips...                  0.00   1,045.00   Gross wages, salary, tips...             0.00   1,255.00
                                                                                                          Income from business...                       0.00       0.00   Income from business...                  0.00       0.00
                                                                                                          Rents and real property income...             0.00       0.00   Rents and real property income...        0.00       0.00
                                                                                                          Interest, dividends...                        0.00       0.00   Interest, dividends...                   0.00       0.00
                                                                                                          Pension, retirement...                        0.00       0.00   Pension, retirement...                   0.00       0.00
                                                                                                          Contributions to HH Exp...                    0.00       0.00   Contributions to HH Exp...               0.00       0.00
                                                                                                          Unemployment...                               0.00       0.00   Unemployment...                          0.00       0.00
                                                                                                          Other Income...                               0.00       0.00   Other Income...                          0.00       0.00



                                                                                                                                                  Additional Items as Designated, if any




                                                                                                                                                                 Remarks
                                                                                                                         Case 14-40567               Doc 1        Filed 06/13/14 Entered 06/13/14 16:04:15                               Desc Main
                                                                                                                                                                    Document Page 60 of 66
                                                                                                          B203
                                                                                                          12/94
                                                                                                                                                   United States Bankruptcy Court
                                                                                                                                                                      Middle District of Georgia
                                                                                                                  In re Tony Hayes & Monique Shamese Hayes                                              Case No. ____________________
                                                                                                                                                                                                        Chapter          13
                                                                                                                                                                                                                    ____________________
                                                                                                                  Debtor(s)
                                                                                                                                  DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                                                          1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                                                  and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                                                  rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                                               3,000.00
                                                                                                                  For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                                                                                                                                       0.00
                                                                                                                  Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                                              3,000.00
                                                                                                                  Balance Due ......................................……………………………………….................... $ ______________

                                                                                                          2.      The source of compensation paid to me was:

                                                                                                                                   Debtor                 Other (specify)
                                                                                                          3.      The source of compensation to be paid to me is:
                                                                                                                                   Debtor                 Other (specify)    Chapter 13 Trustee
                                                                                                          4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
Bankruptcy2014 ©1991-2014, New Hope Software, Inc., ver. 4.7.7-812 - 30045-302Y-***** - PDF-XChange 3.0




                                                                                                          associates of my law firm.

                                                                                                                     I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                                                          of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                                                          5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:




                                                                                                           6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                                                                                                           REPRESENTATION IN ADVERSARY PROCEEDINGS, AVOIDING LIENS AND CONTESTED MATTERS.




                                                                                                                                                                                  CERTIFICATION

                                                                                                                          I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                                                       debtor(s) in the bankruptcy proceeding.


                                                                                                                          6/13/2014
                                                                                                                       ____________________________________                               /s/ William H. Arey
                                                                                                                                                                                        __________________________________________________
                                                                                                                                      Date                                                                Signature of Attorney

                                                                                                                                                                                           Arey, Long and Cross, P.C.
                                                                                                                                                                                         __________________________________________________
                                                                                                                                                                                                           Name of law firm
Case 14-40567   Doc 1   Filed 06/13/14 Entered 06/13/14 16:04:15   Desc Main
                          Document Page 61 of 66


         Adjustment Service of Knox
         P.O. Box 1512
         Knoxville, TN 37901


         ARC
         Trans: Medical
         2915 Professional Parkway
          Augusta, GA 30907


         Badcock Furniture
         W.S. Badcock Corp.
         P.O. Box 1034
         Mulberry, FL 33860


         Badcock Furniture
         W.S. Badcock Corp.
         P.O. Box 1034
         Mulberry, FL 33860


         Capital One
         P.O. Box 30285
         Salt Lake City, UT 84130


         Capital One
         P.O. Box 30285
         Salt Lake City, UT 84130


         Car Mart
         1301 Highway 280 Bypass
         Phenix City, AL 36867


         Care Credit
         GE Capital Cons Card Co.
         P.O. Box 960061
         Orlando, FL 32896-0061


         Cashwell
         2503 Manchester Expressway
         Columbus, GA 31904


         Community Finance and Loan
         8601 Dunwoody Place
         Atlanta, GA 30350
Case 14-40567   Doc 1   Filed 06/13/14 Entered 06/13/14 16:04:15   Desc Main
                          Document Page 62 of 66


         Community Finance and Loan
         8601 Dunwoody Place
         Atlanta, GA 30350


         Consolidated Loan
         5870 Veterans Parkway Suite E
         Columbus, GA 31909


         Consolidated Loan
         5870 Veterans Pkwy.
         Columbus, GA 31909


         Consolidated Loan
         5870 Veterans Pkwy.
         Columbus, GA 31909


         Covington Credit
         2232 Wynnton Road
         Columbus, GA 31906


         Creditor Bureau
         420 College Street
         Macon, GA 31201


         Creditors Bureau Associates
         Trans: Mid GA Ambulance
         420 College Street
         Macon, GA 31201


         Dillards
         P.O. Box 981430
         El Paso, TX 79998-1430


         Enhanced Recovery
         Trans: T Mobile
         8014 Bayberry Road
         Jacksonville, FL 32256


         Equity Auto Loan
         4507 Veterans Parkway
         Columbus, GA 31904
Case 14-40567   Doc 1   Filed 06/13/14 Entered 06/13/14 16:04:15   Desc Main
                          Document Page 63 of 66


         Farmers Furniture
         P.O. Box 1140
         Dublin, GA 31040


         Farmers Furniture
         P.O. Box 1140
         Dublin, GA 31040


         Federal Bond Collection
         Trans: The Medical Center
         2200 Byberry Road #120
         Hatboro, PA 19040


         First Source
         Trans: Medical Center
         P.O. Box 2270
         Southgate, MI 48195


         Georgia Department of Revenue
         P.O. Box 740323
         Atlanta, GA 30374-0323


         Gil's Auto Sales
         1712 E. 280 Bypass
         Phenix City, AL 36867


         Gold Car Lending
         1712 E. 280 Bypass
         Phenix City, AL 36867


         JC Penney
         P.O. Box 981131
         El Paso, TX 79998


         Kohl's
         P.O. Box 3043
         Milwaukee, WI 53201-3043


         Macy's
         P.O. Box 183083
         Columbus, Oh 43218-3083
Case 14-40567   Doc 1   Filed 06/13/14 Entered 06/13/14 16:04:15   Desc Main
                          Document Page 64 of 66


         Mohela
         Department of Education
         633 Spirit Drive
         Chesterfield, MO 63005


         Nationstar
         P.O. Box 650783
         Dallas, TX 75265


         Nationwide Recovery
         Trans: Hamilton ER MED
         545 Inman Street
         Cleveland, TN 37311


         Navy Federal Credit Union
         820 Follin Lane
         Vienna, VA 22405


         Navy Federal Credit Union
         820 Follin Lane
         Vienna, VA 22405


         New York & Company
         Lerner
         P.O. Box 659728
         San Antonio, TX 78265-9782


         OneMain Financial Customer Care
         NTBS-2320
         6801 Colwell Blvd.
         Irving, TX. 75039


         Patriot Loan Company
         4393 C Victory Drive
         Columbus, GA 31906


         Professional Collection Service
         Trans: Liss Neurology & Sleep
         5156 River Road Suite I
         Columbus, GA 31904
Case 14-40567   Doc 1   Filed 06/13/14 Entered 06/13/14 16:04:15   Desc Main
                          Document Page 65 of 66


         Regal Jewelers
         1023 Broadway
         Columbus, GA 31901



         Revenue Recovery Corporation
         Trans: Doctors ER DEPT
         7005 Middlebrook Pike
         Knoxville, TN 37909-1156


         Sam's Club Credit
         P.O. Box 981064
         El Paso, TX 79998-1064


         Source Receivables
         Trans: Sprint
         4615 Dundas Drive # 102
         Greensboro, NC 27407


         State Loan & Finance
         804 13th Street
         Phenix City, AL 36867


         Verizon Wireless
         P.O. Box 105378
         Atlanta, GA 30348


         Verizon Wireless
         P.O. Box 105378
         Atlanta, GA 30348


         Walmart
         P.O. Box 981401
         El Paso, TX 79998
                   Case 14-40567          Doc 1       Filed 06/13/14 Entered 06/13/14 16:04:15                         Desc Main
                                                        Document Page 66 of 66




                                          UNITED STATES BANKRUPTCY COURT
                                                Middle District of Georgia


  In re     Tony Hayes & Monique Shamese Hayes                       ,
                                          Debtor                                   Case No.

                                                                                                  13
                                                                                   Chapter



                                          VERIFICATION OF LIST OF CREDITORS


          I hereby certify under penalty of perjury that the attached List of Creditors which consists of 5 pages, is true, correct

  and complete to the best of my knowledge.



              6/13/2014                                                          /s/ Tony Hayes
  Date                                                       Signature
                                                             of Debtor           TONY HAYES

  Date        6/13/2014                                      Signature           /s/ Monique Shamese Hayes
                                                             of Joint Debtor     MONIQUE SHAMESE HAYES




    William H. Arey
Arey, Long and Cross, P.C.
      P.O. Box 8641
  Columbus, GA 31908
      706-596-6745
